                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
 Offshore Spars Co., et al.1                      Case No. 23-44657
                                                  Judge Thomas J. Tucker
                       Debtors.                   Chapter 11
                                                  Jointly Administered

DEBTOR’S MOTION FOR ENTRY OF AN ORDER (I) APPROVING THE
   SALE OF ASSETS TO OFFSHORE ACQUISITION, LLC FREE AND
 CLEAR OF LIENS, CLAIMS AND ENCUMBRANCES, (II) APPROVING
  THE ASSET PURCHASE AGREEMENT, (III) TERMINATING ASSET
 PURCHASE AGREEMENT WITH RIGPRO, LLC (IV), AUTHORIZING
ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACTS AND
  UNEXPIRED LEASES IN CONNECTION WITH THE SALE; AND (V)
                 GRANTING RELATED RELIEF

         Offshore Spars Co. (the “Debtor”), by and through its undersigned counsel,

hereby submits this motion (the “Motion”) pursuant to, inter alia, sections 105 and

363 of title 11 of the United States Code, 11 U.S.C. § 101 et seq. (as amended, the

“Bankruptcy Code”), and rules 4001, 6004, and 9014 of the Federal Rules of

Bankruptcy Procedure (each a “Bankruptcy Rule,” and, collectively, the

“Bankruptcy Rules”) and rules 6004-1 and 9014-1 of the Local Rules of the United

States Bankruptcy Court for the Eastern District of Michigan (each a “Local Rule,”

and, collectively, the “Local Rules”), for the entry of the order (the “Sale Order”),




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      The Debtors in these jointly administered cases are Offshore Spars Co. (Case
No. 23-44657) and Eric G. Graczyk (Case No. 23-44658).
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substantially in the form attached hereto as Exhibit 1, approving the Debtor’s

proposed sale (the “Sale”) of substantially all of its assets (collectively, the “Assets”)

free and clear of all liens, claims, encumbrances and interests (other than Assumed

Liabilities), including rights or claims based on any successor or transferee liability;

as provided therein; pursuant to the terms of that certain asset purchase agreement

(including all exhibits, schedules, and ancillary agreements related thereto, and as

may be amended and in effect, the “APA”) by and among the Debtor and Offshore

Acquisition, LLC (the “Buyer”), dated as of November 2, 2023, a copy of which is

attached hereto as Exhibit 6A.2 In support of the Motion, the Debtor respectfully

represents as follows:

                                   Jurisdiction and Venue

         1.        This Court has jurisdiction over this motion pursuant to 28 U.S.C. §§

157 and 1334.

         2.        This matter is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2).

         3.        Venue of this proceeding and this Motion is proper in this judicial

district pursuant to 28 U.S.C. §§ 1408 and 1409.

         4.        The statutory predicates for the relief sought herein are, inter alia,

sections 105, 363, and 365 of the Bankruptcy Code, Bankruptcy Rules 6004, and


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      Capitalized terms used but not defined herein shall have the meanings
ascribed to them in the APA.
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9014, and Local Rules 6004-1 and 9014-1.

                                      Background

      5.        On May 23, 2023 (the “Petition Date”) the Debtor filed a voluntary

petition in this Court for relief under Chapter 11 of Title 11 of the United States

Code, 11 U.S.C. §§ 101-1330, as amended (the “Bankruptcy Code”).

      6.        The Debtor continues to manage and operate its business as debtor-in-

possession pursuant to § 1184 of the Bankruptcy Code.

      7.        Eric R. Graczyk is the responsible person for the Debtor.

      8.        Deborah Fish has been appointed Subchapter V Trustee in above-

captioned jointly administered cases.

      9.        The Debtor was established in 1976 and its primary business is

designing and manufacturing carbon fiber and composite masts and booms for the

global superyacht market. The Debtor has additional lines of business including

replacement and service of standing and running rigging for yachts, e-commerce,

and carbon fiber manufacturing for other industries, including the aerospace and

automotive industries.

      10.       In January 2022, the Debtor was acquired by Graczyk Holdings, LLC,

a Michigan limited liability company whose sole member is Eric Graczyk. Not until

after the purchase of the Debtor did Mr. Graczyk discover numerous financial

inconsistencies, warranty claims, and general operational issues that had befallen the

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Debtor under previous ownership. Though Mr. Graczyk spent considerable time and

effort prior the Petition Date attempting to remedy such matters, a rehabilitation of

the business through a Subchapter V bankruptcy became necessary.

      11.       Notwithstanding the Debtor’s best efforts, profitability has been a

material concern during the bankruptcy process as customer demands, market

conditions, and creditor pressure have caused issues to the daily operations and

financial well-being of the Debtor.

      12.       The Debtor has determined, in the exercise of its business judgment,

that the best way to maximize the value of its assets is to sell such assets through the

Sale pursuant to section 363 of the Bankruptcy Code. To this end, the Debtor has

executed the APA with the Buyer to provide for the sale of the Assets to the Buyer

for two million four hundred thirty thousand ($2,430,000.00) dollars, less the Cash

on Hand (as defined in the APA).

      13.       The Sale of the Assets will serve to maximize the value to the

bankruptcy estate, relieve the estate of substantial obligations relating to such assets,

ensure a pathway to a confirmable plan and avoid the further deterioration in the

value of the Assets.

      14.       The Debtor operates in a unique and limited marketspace with a very

limited pool of potential purchasers. The Debtor and its professionals have been

promoting the Assets to the marketplace in this specialized industry and believe the

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Debtor has obtained the highest and best price for the Assets. Moreover, any delay

in approval of the proposed sale will place the sale at risk which would be damaging

to Debtors and their creditors.

      15.       Indeed, the proposed sale contemplates a purchase price sufficient to

satisfy all undisputed secured claims, administrative claims, and priority claims of

the Debtor’s bankruptcy estate, while, at the same time, ensuring a distribution to

unsecured creditors that is no less than the proposed distribution in the Plan of

Reorganization of Offshore Spars Co. and Eric R. Graczyk. The material benefit to

all parties includes the removal of any uncertainty of the Debtor’s continued

operations and prompt payment in an amount that was already met with near

universal support by the creditor base.

      16.       The Debtors have no relationship with the Buyer and the proposed sale

is the product of extensive arms-length negotiation between the parties. The Buyer

is seeking to retain Graczyk as an employee. The material aspects of the APA;

however, including the purchase price for the Assets was negotiated prior to terms

of Graczyk. The terms of Graczyk’s employment are attached as an exhibit to the

APA and provides the basis for confirming a feasible plan of reorganization in

Graczyk’s individual bankruptcy case and thus is in the best interest of both Debtors.

      17.       The Debtors believe that pursuing the Sale is the course of action most

likely to maximize the value of the Assets. As a result, and in an exercise of their

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fiduciary obligations to their respective estates, and in exercising appropriate

business judgment, Debtor has executed the APA and seeks authority of this Court

to approve the same via this Motion.

         18.       Further justification for the relief requested herein is set forth in the

Declaration of Eric R. Graczyk filed contemporaneously herewith.

                                         Relief Requested

         19.       By this Motion, the Debtors respectfully request that the Court enter an

order approving the Sale of the Assets free and clear of all liens, Claims,

encumbrances and interests (with such liens, claims, encumbrances and interests

attaching to the sale proceeds) and granting certain related relief substantially in the

form submitted.

      I. The Proposed Sale of the Assets

               a. The APA

         20.       The following is a summary of the principal terms of the APA: 3

                   a.      Purchase Price: Under section 2.5(a) of the APA, the aggregate
                           consideration (the “Purchase Price”) for the purchase, sale,
                           assignment, and conveyance of the Assets consists of: (i) cash
                           (the “Cash Consideration”) in an amount equal to $2,430,000.00,
                           less the Cash on Hand.




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       The following summary is qualified in its entirety by reference to the
provisions of the APA. In the event of any inconsistencies between the provisions
of the APA and the terms herein, the terms of the APA shall govern.
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                b.      Assets: Section 2.1 of the APA provides that the Buyer shall
                        purchase substantially all of the Debtor’s assets, as defined as the
                        Purchased Assets therein.

                c.      Assumed Liabilities: Section 2.3 of the APA provides that the
                        Buyer will not assume or perform any liabilities of the Debtor
                        other than those set forth therein.

                d.      Closing. Pursuant to Section 2.6 of the APA, the closing shall
                        take place on the occurrence of the latest of the following: (i) the
                        fifth business day after entry of the Sale Order; (ii) Buyer
                        receiving Acceptable Environmental Reports, and (iii) January
                        12, 2024.

                e.      Closing Conditions. Pursuant to Section 6.2 of the APA, the
                        closing is conditioned upon, inter alia, the Bankruptcy Court
                        shall have entered the Sale Order and it shall not be subject to a
                        stay pending appeal; Buyer shall have received Acceptable
                        Environmental Reports; the Buyer shall be satisfied in its sole
                        discretion with its legal, financial, accounting, product,
                        operations, environmental, and other diligence of Seller, the
                        Company, the Business, and the Purchased Assets; and the
                        landlord of the Debtor’s facility having executed an amended
                        and modified lease acceptable to Buyer in its sole discretion (the
                        “Modified Lease”) and entry of an order by the Bankruptcy
                        Court acceptable to the Buyer in its sole discretion (which
                        provisions may be included in the Sale Order) authorizing and
                        approving the assumption and assignment of the Modified Lease
                        and establishing the cure amount not to exceed $27,500.00.

            b. Assumption and Assignment of the Executory Contracts and
               Unexpired Leases

      16.       Contemporaneously with the filing of this Motion, the Debtor will file

with this Court and serve the Cure Notice on each counterparty to an executory

contract or unexpired lease related to the Assets, substantially in the form attached


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as Exhibit 6B to the Motion, which Cure Notice shall: (i) state the amounts necessary

to cure defaults, if any, that the Debtor believes are necessary to assume such

contracts or leases in accordance with section 365 of the Bankruptcy Code (the “Cure

Amount”); (ii) notify the non-Debtor counterparty that such party’s contract(s) or

lease(s) may be assumed and assigned to the Buyer; and (iii) state the deadline by

which the non-Debtor counterparty may file an objection to the Cure Amount(s) or

to the assumption and assignment of the applicable contract(s) and/or lease(s);

provided, however, that the inclusion of a contract, lease or agreement on the Cure

Notice shall not constitute an admission that such contract, lease or agreement is an

executory contract or unexpired lease or that it will, in fact, be assumed and assigned

in connection with the Sale of the Assets.

      17.       It is noted by the Debtor that in this particular case, other than with

respect to the Modified Lease which relates to the Facility at which Debtor operates,

the only other contracts Buyer has identified as being potentially assumed executory

contracts are with respect to orders placed by Debtor’s customers. As such, except

for the Modified Lease, Debtor believes that no amounts to cure defaults exist and

as such there will be a “zero” Cure Amount for all contracts identified on the Cure

Notice. The Debtor reserves all of its rights, claims, and causes of action with respect

to the contracts, leases, and agreements listed on the Cure Notice.

      18.       The APA provides that, as one of Buyer’s conditions to Closing, entry

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of an order by the Bankruptcy Court acceptable to the Buyer in its sole discretion

(which provisions may be included in the Sale Order) authorizing and approving the

assumption and assignment of the Modified Lease and establishes the Cure Amount

to be paid by Buyer not to exceed $27,500.00.

      19.       The Debtor proposes that any objection to the Cure Amount or the

assumption and assignment of the applicable contract(s) and/or lease(s) must be filed

with the Clerk of the Court, 211 W. Fort St., Detroit, Michigan 48226, and served so

as to be received by: (a) counsel to the Debtor, Stevenson & Bullock, PLC, Attn:

Elliot Crowder, 26100 American Drive, Suite 500, Southfield, MI 48034; (b)

counsel to the Buyer, Dykema Gossett PLLC, Attn: Sheryl L. Toby, 39577

Woodward Avenue, Suite 300 Bloomfield Hills, Michigan 48304; (c) the Subchapter

V Trustee, Deborah L. Fish, 211 West Fort Street, Suite 705, Detroit, MI 48226; and

(d) counsel to Pathward N.A. (“Pathward”), Taft Stettinius & Hollister LLP, Attn:

Kimberly R. Clayson, 27777 Franklin Road, Suite 2500, Southfield, MI 48034

(collectively, the “Consultation Parties”), on or before November 27, 2023 (the

“Cure Objection Deadline”). Any such objection must also state (i) the basis for

such objection and (ii) with specificity what Cure Amount(s) the non-Debtor

counterparty to the relevant executory contract(s) or unexpired lease(s) believes is

required (in all cases with appropriate documentation in support thereof).




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      20.      Any objection solely to the Cure Amount(s) may not prevent or delay

the Debtor’s assumption and assignment of assumed and assigned contract(s) or

lease(s). If an entity objects solely to Cure Amount(s), the Debtor may, with the

consent of the Buyer, hold the claimed Cure Amount(s) in reserve pending further

order of the Court or mutual agreement of the parties. So long as the Cure Amount(s)

are held in reserve, and there are no other unresolved objections to assumption and

assignment of the applicable assumed and assigned contract(s) or lease(s), the Debtor

can, without further delay, assume and assign such contract(s) or lease(s). Under

such circumstances, the objecting non-Debtor counterparty’s recourse is limited to

the funds held in reserve.

      21.      If no objection to the Cure Amount(s) is timely received, the Cure

Amount(s) set forth in the Cure Notice shall be controlling notwithstanding anything

to the contrary in any Purchased Contracts or other document(s) as of the date of the

Cure Notice.

      22.      To the extent that any non-Debtor counterparty does not timely file and

serve an objection as set forth above herein, such counterparty will be: (i) deemed

to have consented to the Cure Amount(s), if any, set forth in the Cure Notice; (ii)

barred, estopped, and enjoined from asserting any additional Cure Amount(s) under

the assumed and assigned executory contract(s) or unexpired lease(s); (iii) barred

from objecting to the assumption and assignment of the applicable assumed and

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assigned executory contract(s) or unexpired lease(s) to the Buyer; and (iv) barred

from objecting to adequate assurance of future performance by the assignee.

   c. Termination of the Asset Purchase Agreement with Rigpro, LLC

      23.      In the Debtor’s Plan of Reorganization of Offshore Spars Co. and Eric

R. Graczyk [Docket No. 93] (the “First Plan”), the Debtor proposed to sell its

autoclave, tooling, and mast spinners to Rigpro, LLC (“Rigpro”) pursuant to the

terms of an asset purchase agreement attached to the First Plan as Exhibit C (the

“Rigpro APA”).

      24.      Importantly, the sale contemplated in the Rigpro APA was expressly

conditioned upon Court approval of the Rigpro APA and the First Plan.

      25.      Debtor, in its business judgement, has determined that pursuing this

Court’s approval of the Rigpro APA is not in the best interest of the Debtors estates

and through this Motion, the Debtor seeks confirmation by this Court that the Rigpro

APA is terminated without any further duty or obligation of any kind or nature by

the Debtors. Cause exists for termination of the Rigpro APA which includes: (i) the

APA with the Buyer is for substantially more than the Rigpro APA; and (ii) after the

filing of the First Plan, the Debtor was informed by Pathward that the proposed

surcharge of the Pathward collateral (the assets contemplated to be sold under the

Rigpro APA) was objectionable and; (iii) approval of the Sale provides an avenue

for an immediate distribution to creditors under a plan of liquidation of Offshore

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Spars Co. rather than payments over time as presently contemplated under the First

Plan.

   II. Grounds for Approval of the Motion

        26.    In accordance with Bankruptcy Rule 6004(f)(1), sales of property

outside the ordinary course of business may be by private sale.

        27.    Compelling business justifications exist for the proposed Sale. First,

the Debtor does not have sufficient liquidity or access to financing to fund a

protracted and contentious chapter 11 case. As a result, and cognizant of its current

monthly cash outlay, continued use of cash collateral, and its fiduciary obligations,

the Debtor believes that a sale of substantially all of its assets offers the best available

alternative at this juncture. Moreover, the Debtor believes that the proposed sale set

forth herein will satisfy the secured, administrative, and priority obligations of the

bankruptcy estate. Plainly stated, this is a substantial and material recovery for the

bankruptcy estate and a testament to the Debtor’s commitment to the bankruptcy

estate. Accordingly, the Debtor has determined that it should pursue the Sale of the

Assets to the Buyer on the terms set forth in the APA.

        28.    Moreover, the Debtor’s principle desires to ensure that the bankruptcy

estate is maximized, employees remain employed and able to support their families,

and customers continue to receive service.




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      29.      The sale of the Debtor’s Assets provides considerable value to the

bankruptcy estate as it will satisfy, in full, the secured, administrative, and priority

claims of the Debtor’s bankruptcy estate and a distribution to unsecured creditors. It

similarly provides the basis for confirming a feasible plan of reorganization in

Graczyk’s individual bankruptcy case and thus is in the best interest of both Debtors.

It is also noteworthy that the proposed sale is a going-concern sale, which

contemplates the continued employment of Debtor’s employees.

      30.      The Sale of the Assets pursuant to section 363 of the Bankruptcy Code

will enable the expeditious transfer of such assets, an approach necessary to

maximize and preserve the going-concern value of such assets.

      31.      Section 363(b)(1) of the Bankruptcy Code provides, in relevant part,

that “[t]he trustee, after notice and a hearing, may use, sell, or lease, other than in the

ordinary course of business, property of the estate.” 11 U.S.C. § 363(b)(1). Section

105(a) of the Bankruptcy Code provides that “[t]he court may issue any order,

process, or judgment that is necessary or appropriate to carry out the provisions of

[the Bankruptcy Code].” 11 U.S.C. § 105(a).

      32.      In approving the sale of assets outside the ordinary course of business

and outside of a chapter 11 plan pursuant to section 363 of the Bankruptcy Code,

courts, including those in the Sixth Circuit, have adopted the “sound business reason”

test established by the Second Circuit in Committee of Equity Security Holders v.

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Lionel Corporation (In re Lionel Corp.), 722 F.2d 1063 (2nd Cir. 1983). See,

Stephens Indus., Inc. v. McClung, 789 F.2d 386, 391 (6th Cir. 1986); In re Nicole

Energy Servs., Inc., 385 B.R. 201, 230 (Bankr. S.D. Ohio 2008); In re Jillian’s

Entm’t Holdings, 327 B.R. 616, 617 (Bankr. W.D. Ky. 2005) (stating that the Lionel

standard has been adopted by the vast majority of courts); see also, In re Del. &

Hudson Ry. Co., 124 B.R. 169, 176 (Bankr. D. Del. 1991) (holding that transactions

should be approved under section 363(b)(1) when: (a) they are supported by the

sound business judgment of a debtor’s management; (b) interested parties are

provided with adequate and reasonable notice; (c) the sale price is fair and

reasonable; and (d) the Buyer is acting in good faith.

      33.      A debtor’s showing of sound business justification need not be unduly

exhaustive; instead the debtor or trustee is “simply required to justify the proposed

disposition with sound business reasons.” In re Baldwin United Corp., 43 B.R. 888,

906 (Bankr. S.D. Ohio 1984). Whether or not there are sufficient business reasons to

justify a sale depends upon the facts and circumstances of each case. See, Lionel,

722 F.2d at 1071. Bankruptcy courts are given substantial discretion in deciding

whether to authorize a sale of a debtor’s assets outside of the ordinary course of

business. See In re Chateaugay Corp., 973 F.2d 141, 144 (2d Cir. 1992).

      34.      As discussed above and in the Declaration, the Debtor and its

management have concluded after due deliberation that, in light of the distressed

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nature of the Debtor’s business, the Sale of the Assets represents the best alternative

currently available and satisfies the “sound business purpose” test for the sale of

assets outside the ordinary course of business under section 363(b) of the Bankruptcy

Code.

        35.     Moreover, the Debtor has worked collaboratively with the Subchapter

V Trustee, Pathward, and the Office of the United States Trustee during the pendency

of its case and regarding the proposed sale and has kept constituents apprised of its

sale efforts. .

        36.     In addition to a fair and reasonable value offered by the Buyer for the

Assets, the APA is the product of arms’ length, good faith negotiations between the

relevant parties. Finally, adequate and reasonable notice of the sale process is being

provided, in accordance with applicable rule.

        37.     Accordingly, the Debtor submits that the Sale of the Assets as

contemplated herein is in the best interests of the Debtor, its estate and creditors, and

should be approved.

              a. The Assets Should Be Sold Free and Clear of Claims, Liens,
                 Encumbrances and Interests Under Section 363(f) of the
                 Bankruptcy Code

        38.     The Debtor also submits that the Sale of the Assets should be free and

clear of any and all liens, Claims, encumbrances and interests under section 363(f)

of the Bankruptcy Code (other than Assumed Liabilities as provided in the APA)


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with liens, interests and encumbrances attaching to the proceeds of the Sale in the

same priority as existed prior to the closing of the Sale.

      39.      Section 363(f) of the Bankruptcy Code permits a debtor to sell property

free and clear of third-party interests only if:

      (1) applicable nonbankruptcy law permits sale of such property free and
      clear of such interests; (2) such entity consents; (3) such interest is a
      lien and the price at which such property is to be sold is greater than the
      aggregate value of all liens on such property; (4) such interest is in bona
      fide dispute; or (5) such entity could be compelled, in a legal or
      equitable proceeding, to accept a money satisfaction of such interest.

11 U.S.C. § 363(f). Since section 363(f) is written in the disjunctive, any of the five

conditions provides authority to sell free and clear of claims, liens and

encumbrances. See generally, In re Leckie Smokeless Coal Co., 99 F.3d 573 (4th

Cir. 1996); In re Gulf States Steel, Inc. of Ala., 285 B.R. 497, 506 (Bankr. N.D. Ala.

2002). Therefore, the Court may approve a sale free and clear of liens even if all

lien holders have not consented.

      40.      The Debtor submits that each lien, claim, encumbrance and interest that

is not an Assumed Liability under the APA satisfies at least one of the five conditions

of section 363(f) of the Bankruptcy Code. If an entity with an asserted encumbrance

on the Assets objects to the proposed Sale of the Assets, the Debtor intends to

demonstrate at the Sale Hearing its satisfaction of the requirements of section 363(f)

of the Bankruptcy Code. Alternatively, the Debtor may sell the Assets free and clear

of any other interests under section 363(f)(5) of the Bankruptcy Code, because the
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lien, claim, encumbrance or interest on any assets sold will attach to the cash

proceeds of such Sale in their order of priority and entities holding such interests

could be compelled to accept money satisfaction in legal or equitable proceedings.

Accordingly, pursuant to section 363 of the Bankruptcy Code, the Debtor may sell

the Assets free and clear of all claims, liens and encumbrances.

      41.      Specifically, as set forth in the Final Order Authorizing the Debtor to

Use Cash Collateral and Granting Adequate Protection [Docket No. 65, Pathward,

N.A. (“Pathward”) holds a first priority security interest against the Debtor’s assets

as more particularly described in the Security Agreements executed by the Debtor in

favor of Pathward dated January 26, 2022 and September 20, 2022 respectively.

Upon information and belief, Pathward consents to the sale, which is at a price in

excess of the amount owed to Pathward, thereby satisfying §§ 363(f)(2) and (3).

Further, the Debtor believes that it could, if needed, satisfy § 363(f) (5) with respect

to Pathward.

      42.      The Debtor also understands that Cimolai USA, LLC (“Cimolai”)

asserts a secured claim against the Bankruptcy Estate, despite the findings in the

Cash Collateral Order. The alleged secured claim of Cimolai is strongly in dispute

and the Debtor believes it satisfies §§ 363(1), (3), (4), and (5) with respect to the

alleged Cimolai claim. Indeed, the gravamen of the asserted security by Cimolai is

the Michigan Builder’s Trust Fund Act (the “MBTFA”); however, the Michigan

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Supreme Court held in In re Certified Question, 411 Mich. 727 (1981) that the

MBTFA applies only on private construction projects and has no applicability to

public construction projects such as the project that Cimolai asserts its claim.

      43.      Moreover, the Debtor will send a copy of this Motion to any purported

lienholders. If such lienholders do not object to the proposed Sale, then their consent

should reasonably be presumed. Accordingly, the Debtor requests that unless an

entity asserting a lien or encumbrance on any of the Assets (other than with respect

to Assumed Liabilities) timely objects to this Motion, such entity shall be deemed to

have consented to any Sale approved at the Sale Hearing.

      44.      It is also appropriate to sell the Assets free and clear of successor

liability relating to the Debtor’s business. Such limitations on successor liability

ensure that the Buyer is protected from any claims or lawsuits premised on the theory

that the Buyer is a successor in interest to the Debtor. Courts have consistently held

that a buyer of a debtor’s assets pursuant to a section 363 sale takes free and clear

from successor liability relating to the debtor’s business. See e.g., In re Tran World

Airlines, Inc., 322 F.3d 283, 288-90 (3rd Cir. 2003) (sale of assets pursuant to section

363(f) barred successor liability claims for employment discrimination and rights

under travel voucher program); In re Leckie Smokeless Coal Co., 99 F.3d 573, 585

(4th Cir. 1996) (affirming the sale of debtors’ assets free and clear of certain taxes);

In re Insilco Techs., Inc., 351 B.R. 313, 322 (Bankr. D. Del. 2006) (stating that a 363

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sale permits a buyer to take ownership of property without concern that a creditor

will file suit based on a successor liability theory).

      45.      The purpose of a sale order purporting to authorize the transfer of assets

free and clear of all claims, liens, encumbrances and interests would be defeated if

claimants could thereafter use the transfer as a basis to assert claims against a buyer

arising from a seller’s pre-sale conduct. To that end, the Buyer should not be liable

under any theory of successor liability relating to the Debtor’s business, but should

hold the Assets free and clear and a Court Order so providing is one of the conditions

precedent to Buyer’s closing of the sale.

            b. The Buyer Should Be Entitled to the Protections of Section 363(m)
               of the Bankruptcy Code

      46.      Pursuant to section 363(m) of the Bankruptcy Code, a good faith

purchaser is one who purchases assets for value, in good faith, and without notice of

adverse claims. See, In re Made In Detroit, Inc., 414 F.3d 576, 581 (6th Cir. 2005);

Miami Ctr. Ltd. P’ship v. Bank of New York, 838 F.2d 1547, 1554 (11th Cir. 1988);

In re Mark Bell Furniture Warehouse, Inc., 992 F.2d 7, 9 (1st Cir. 1993); In re

Willemain v. Kivitz, 764 F.2d 1019, 1023 (4th Cir. 1985); In re Abbotts Dairies of

Penn., 788 F.2d 143, 147 (3rd Cir. 1986).

      47.      The APA was negotiated at arm’s-length, with each of the parties

represented by its own counsel, and in good faith. Accordingly, the Debtor requests


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that the Sale Order include a provision that the Buyer is a “good faith” purchaser

within the meaning of section 363(m) of the Bankruptcy Code.                The Debtor

maintains that providing the Buyer with such protection was a material consideration

inducing the Buyer to enter into the APA.

            c. Assumption and Assignment of Certain Executory Contracts and
               Unexpired Leases

      48.      To enhance the value of the bankruptcy estate (by curtailing further

administrative liability), the Debtor requests authority under section 365 of the

Bankruptcy Code to assume and assign the Assumed Contracts to the Buyer. The

Debtor further requests that the Sale Order provide that the Assumed Contracts will

be transferred to, and remain in full force and effect for the benefit of, the Buyer

notwithstanding any provisions in such assigned contracts and/or leases, including

those described in sections 365(b)(2), (f)(1), and (f)(3) of the Bankruptcy Code, that

prohibit such assignments.

      49.      A debtor in bankruptcy may, subject to court approval, assume and

assign executory contracts and unexpired leases under section 365 of the Bankruptcy

Code. 11 U.S.C. § 365(a). Courts routinely approve motions to assume, assume and

assign, or reject executory contracts or unexpired leases upon a showing that a

debtor’s decision to take such action will benefit the debtor’s estate and is an exercise

of sound business judgment. See, e.g., L.R.S.C. Co. v. Rickel Home Ctrs., Inc. (In re


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Rickel Home Ctrs., Inc.), 209 F.3d 291, 298 (3rd Cir. 2000); Edwin C. Levy Co. v.

McLouth Steel Corp. (In re McLouth Steel Corp.), 20 B.R. 688, 692 (Bankr. E.D.

Mich. 1982) (“In determining whether a certain contract should be assumed or

rejected, the decision should rest on the business judgment of the debtor.”); In re

Greektown Holdings, L.L.C., No. 08-53104, 2009 WL 1653461, at *1 (Bankr. E.D.

Mich. May 13, 2009) (same). The assumption and assignment of the Assumed

Contracts related to the Assets is an integral component of the Sale, without which

the Sale would not be a viable option.

      50.      Section 365(b)(1) of the Bankruptcy Code requires that, if there has

been a default in a debtor’s unexpired lease or executory contract, other than certain

nonmonetary defaults as set forth in the statute, such unexpired lease or executory

contract may not be assumed unless, at the time of the assumption: (i) such default

is cured or there is adequate assurance that such default will be cured, (ii)

compensation or adequate assurance of compensation is provided for any actual

pecuniary loss resulting from such default, and (iii) adequate assurance of future

performance under the lease is provided. 11 U.S.C. § 365(b)(1)(A)-(C).

      51.      As set forth above, the Debtor will send the Cure Notice to all

counterparties to the executory contracts and unexpired leases notifying such

counterparties of the potential assumption by the Debtor and assignment to the Buyer

of such contract(s) and/or lease(s). The Cure Notice will also set forth the Cure

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Amount, if any, owing for each such contract(s) and/or lease(s) according to the

Debtor’s books and records.

      52.      Counterparties to such contract(s) and/or lease(s) will be given

sufficient time to object to the proposed Cure Amounts, if any, set forth in the Cure

Notice. If no objection is filed with regard to a particular Cure Amount (which again,

is contemplated to be at “zero” other than respect to the Modified Lease, such Cure

Amount shall be binding on the Debtor, the Buyer and the applicable non-Debtor

counterparty. The payment of the Cure Amounts specified in the Cure Notice (or a

different amount, either agreed to by the Debtor or resolved by the Court as a result

of a timely-filed objection by the relevant non-Debtor counterparty) will be in full

and final satisfaction of all obligations to cure defaults and compensate the

counterparties for any pecuniary losses under the applicable executory contract(s)

and/or lease(s) pursuant to section 365(b)(1) of the Bankruptcy Code, unless the

Debtor determines, before the Sale Hearing, that a particular contract or lease is not

executory or unexpired, and does not need to be cured to transfer the Assets to the

Buyer.

      53.      Section 365(f)(2)(B) of the Bankruptcy Code states that a debtor may

assign its unexpired leases and executory contracts if, among other things, the

assignee provides “adequate assurance of future performance.”              11 U.S.C.

§ 365(f)(2)(B). If necessary, the Buyer will submit written evidence of its ability to

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provide adequate assurance of future performance under the applicable contracts or

leases. The affected non-Debtor counterparties will also be able to challenge the

ability of the Buyer to provide adequate assurance.

      54.      Any assumption and assignment of an Assumed Contract will be subject

to all of the provisions of such contract(s) and/or lease(s), to the extent required by

applicable law and in accordance with applicable provisions of the Bankruptcy Code.

Consequently, assumption and assignment of the Purchased Contracts in connection

with the Sale of the Assets is appropriate under the circumstances.

            d. The Form, Manner, and Extent of Notice of the Motion and the
               Proposed Sale are Appropriate and Adequate Under the
               Circumstances

      55.      The Debtor will serve the notice of this Motion in accordance with

applicable Local Rules and will serve this Motion as set forth herein. The notice of

the proposed Sale to be provided by the Debtor as set forth herein sufficiently

describes the terms and conditions of the proposed Sale.

      56.      Several sections of the Bankruptcy Code and Bankruptcy Rules dictate

the sufficiency of notice and adequacy of service. As discussed below, the content

and manner of service of this Motion and the related notices satisfy all such

requirements.

      57.      Section 363 of the Bankruptcy Code provides that a trustee may sell

property “after notice and hearing.” Under section 102(1) of the Bankruptcy Code,

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the phrase “after notice and hearing” means “notice as is appropriate in the particular

circumstances, and such opportunity for a hearing as is appropriate in the particular

circumstances.” 11 U.S.C. § 102(1)(A). As set forth above, creditors have been

provided notice of the salient details regarding this Motion and the Sale Hearing.

Accordingly, notice is sufficient under section 363 of the Bankruptcy Code.

      58.      Bankruptcy Rule 6004 requires that notice of sales of property outside

of the ordinary course of business complies with Bankruptcy Rule 2002. The Debtor

has complied with Bankruptcy Rule 2002. The Sale Notice will be served on all

creditors of the bankruptcy estate contemporaneously with the filing of this Motion

thereby satisfying this requirement.

      59.      The notice of this Motion that are being provided as described herein,

including the notice being provided by publication as set forth above, are “reasonably

calculated” to apprise interested parties of the pendency of the matter and to afford

them an opportunity to object. See, Mullane v. Central Hanover Bank & Trust Co.,

339 U.S. 306 (1950). Parties in interest have been, and should be found to have been,

afforded adequate notice of this Motion, the Sale, and the other relief requested

herein. The Debtor submits that the notice it has provided and intends to provide as

outlined above with respect to the proposed Sale is reasonable and appropriate and

constitutes good and adequate notice of the sale of the Assets and the procedures and

proceedings related thereto and therefore should be approved by the Court.

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            e. The Stay of the Sale Order Should Be Waived

      60.      Pursuant to Bankruptcy Rules 6004(h), an order authorizing the sale of

property is stayed for fourteen (14) days after the entry of an order unless the Court

orders otherwise.

      61.      The Debtor requests that this Court order that such stay is not applicable

with respect to the Sale of the Assets. The Debtor’s profit margins have been slim

since the commencement of the bankruptcy case and the Debtor has set forth

sufficient business justification to pursue a sale of its assets. To delay closing on the

Sale will burden the bankruptcy estate and require unnecessary expenditures of the

Debtor’s limited resources, to the detriment of lien claimants, the holders of

administrative expenses, and unsecured creditors. The Debtor notes that requests to

waive the stay imposed under Bankruptcy Rules 6004(h) are routinely granted. See,

e.g., In re the Great Atlantic & Pacific Tea Co., Inc., No. 15-23007 (SCC) (Bankr.

S.D.N.Y. Aug. 11, 2015); In re Delia’s, Inc., No. 14-23678 (RDD) (Bankr. S.D.N.Y.

Feb. 10, 2015); In re Midway Games Inc., No. 09-10465 (KG) (Bankr. D. Del. June

3, 2009); In re Nortel Networks Inc., No. 09-10138 (Bankr. D. Del. Mar. 3, 2009).

                                   No Prior Request

      62.      No prior request for the relief sought herein has been requested from

this Court or any other court.

                                         Notice

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      63.      Notice of this Motion has been provided to: (a) the Office of the United

States Trustee; (b) the Subchapter V Trustee; (c) all persons and entities that have

filed a request for service of filings in this chapter 11 case pursuant to Bankruptcy

Rule 2002; (d) all taxing and environmental agencies; (e) all Debtors known former

and current customers and (f) all parties listed on the Debtors’ creditor matrices.

      64.      The Debtor submits that, under the circumstances, no other or further

notice is required.

      WHEREFORE, the Debtor respectfully request that the Court grant the relief

requested in this Motion and grant the Debtor such other and further relief as this

Court deems just and proper.

                                            Respectfully submitted,
                                            STEVENSON & BULLOCK, P.L.C.

                                            By: /s/ Elliot G. Crowder
                                            Elliot G. Crowder (P76137)
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                                            Phone: (248) 354-7906
                                            Facsimile: (248) 354-7907
                                            Email: ecrowder@sbplclaw.com

                                            OFFSHORE SPARS CO.

                                            By: /s/ Eric R. Graczyk
                                            Eric R. Graczyk
                                            Its: Responsible Person
Dated: November 3, 2023


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                                  EXHIBIT 1
                               (Proposed Sale Order)




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                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
 Offshore Spars Co., et al.1                Case No. 23-44657
                                            Judge Thomas J. Tucker
                    Debtors.                Chapter 11


       ORDER (I) APPROVING THE SALE OF ASSETS TO OFFSHORE
      ACQUISITION, LLC FREE AND CLEAR OF LIENS, CLAIMS AND
        ENCUMBRANCES, (II) APPROVING THE ASSET PURCHASE
    AGREEMENT, (III) TERMINATING ASSET PURCHASE AGREEMENT
       WITH RIGPRO, LLC (IV), AUTHORIZING ASSUMPTION AND
      ASSIGNMENT OF EXECUTORY CONTRACTS AND UNEXPIRED
     LEASES IN CONNECTION WITH THE SALE; AND (V) GRANTING
                         RELATED RELIEF

       Upon consideration of the Motion for Entry of an Order (i) approving the

sale of assets of Offshore Spars Co. (“Seller” or “Debtor 2”) to Offshore

Acquisition, LLC (“Buyer”) free and clear of liens, claims and encumbrances, (ii)

approving the asset purchase agreement, (iii) terminating asset purchase agreement

with RigPro, LLC (iv) authorizing assumption and assignment of executory

contracts and unexpired leases in connection with the sale; and (v) granting related

relief all as more fully described in the Motion; the Court having reviewed and

considered the Motion and all relief related thereto and all pleadings and other


1
      The Debtors in these jointly administered cases are Offshore Spars Co.
(Case No. 23-44657) and Eric G. Graczyk (Case No. 23-44658).
2
      Debtor along with Eric R. Graczyk shall be referred to collectively as
“Debtors”.


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materials submitted in connection therewith (the “Motion”); adequate notice of the

Motion and opportunity for objection having been given, with no objections having

been filed or all objections having been resolved or overruled, as the case may be;

no other notice need be given and it appearing that the legal and factual bases set

forth in the Motion and any pleadings filed in connection therewith establish just

cause for the relief granted herein;

IT IS HEREBY FOUND AND DETERMINED THAT:

Jurisdiction and Venue
      A.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§

157 and 1334. The Motion is a core proceeding under 28 U.S.C. § 157(b). Venue

is proper in the Court under 28 U.S.C. §§ 1408 and 1409.

      B.       The statutory predicates for the relief provided herein are sections

105(a), 363 and 365 of title 11 of the United States Code (the “Bankruptcy

Code”) and Rules 2002, 6004, 6006, 9007, and 9014 of the Bankruptcy Rules and

the corresponding local rules.

      C.       This Sale Order constitutes a final order within the meaning of 28

U.S.C. § 158(a), and the Court has the constitutional authority to enter a final order

with respect to the Motion. Notwithstanding Bankruptcy Rules 6004(h) and

6006(d), and to any extent necessary under Bankruptcy Rule 9014 and Rule 54(b)

of the Federal Rules of Civil Procedure, as made applicable to this proceeding by




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Bankruptcy Rule 7054, the Court expressly finds that there is no just reason for

delay in the implementation of this Sale Order, and expressly directs the immediate

entry of this Sale Order as set forth herein.

Notice

         D.    As evidenced by the certificates of service filed with the Court, and

based on the representations of Debtors counsel, proper and timely notice of the

Motion and the transaction contemplated therein, has been provided to all known

parties entitled to notice thereof, in compliance with the applicable provisions of

the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules and orders of the

Court.

         E.    On November 3, 2023 the Debtors served Notice of the Motion with a

proposed sale order in substantially the same form as this Order by first-class mail,

postage prepaid, or by ECF, on (i) all parties who have filed a written request for

notice in these Chapter 11 Cases pursuant to Bankruptcy Rule 2002; (ii) the Office

of the United States Trustee; (iii) all creditors as set forth on their mailing matrices;

(iv) all creditors that assert a lien on Debtors assets; (v) RigPro, LLC; (vi) all

parties appearing in the case and any other party required by order of the

Bankruptcy Court or applicable Bankruptcy Rules; (vii) all applicable United

States, state, tribal, and local regulatory or taxing authorities, recording offices, or

any governmental entity that have a reasonably known interest in the relief



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requested in the Motion or the transaction set forth therein including all relevant

taxing authorities and the Environmental Protection Agency; (viii) the Subchapter

V Trustee; and (vix) the Office of the United States Trustee.

          F.       Simultaneously with the filing of the Motion, Debtor filed with the

Court and served a Notice of Proposed Cure Costs on each entity that were

identified in the Asset Purchase Agreement between Buyer and Seller (the “APA”)
3
    , as being a counter party having executory contracts that may potentially be

assumed and assigned to the Buyer (the “Potential Assumed Contract Parties”)

setting forth the cure amounts, if any, under each executory contracts and

unexpired leases (the “Contract Notice”).

          G.       The Contract Notice was served on each of the Potential Assumed

Contract Parties by USPS First Class Mail.

          H.       The foregoing notices constitutes good and sufficient notice under the

particular circumstances, and no other or further notice need be given for the

granting of the relief requested herein or entry of this Sale Order. A reasonable

opportunity to object or be heard with respect to the Motion and the relief

requested therein has been afforded to all interested persons and entities, including

(ii) all parties who are known to possess or assert any liens, claims and

encumbrances in or upon any of the Debtor’s assets being sold under the APA (the

3
 Capitalized terms not otherwise defined herein shall have the meaning ascribed in the Asset Purchase Agreement
between Buyer and Debtors being hereby approved by this Court by this Order.



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“Assets”); (iii) all applicable United States, state, tribal, and local regulatory or

taxing authorities, recording offices, or any governmental entity that have a

reasonably known interest in the relief requested in the Motion or the transaction

set forth therein; and (iv) all counterparties to executory contracts and unexpired

leases of the Debtor.

The Sales Process
      I.       As set forth in the declaration of Eric R. Graczyk in support of the

Motion (the “Declaration”), the Debtor is engaged in the business of designing

and manufacturing carbon fiber and composite masts and booms for the global

superyacht market. The Debtor has additional lines of business including

replacement and service of standing and running rigging for yachts, e-commerce,

and carbon fiber manufacturing for other industries, including the aerospace and

automotive industries (the “Business”). The Debtor has a unique business, which

caters to a narrow specialty market resulting in limited potential buyers for the

Assets. As reflected in the Declaration, the Debtor diligently marketed the Assets

to the potential buyer pool both prepetition and during this bankruptcy case (the

“Marketing Process”).

      J.       The Marketing Process resulted in Seller entering into an asset

purchase agreement with RigPro, LLC (the “RigPro APA”) for a sale of portion of

Debtor’s assets for $400,000. The RigPro APA was contingent upon, among other




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things, the Debtor obtaining Bankruptcy Court approval. The Debtor’s business

judgement is, and the Bankruptcy Court finds, that continuing to pursue the RigPro

APA is not in the best interest of the Debtors or their creditors; the Buyer is

uniquely situated and is willing to pay a purchase price and is able to close on a

transaction with the Debtor above the RigPro APA and in excess of any other

potential buyers; and continuing to pursue a Marketing Process would not likely

yield a higher or better offer and would put the sale to the Buyer at risk.

      K.       Based on the evidence presented to this Bankruptcy Court, the

Debtors marketed the Assets and conducted the sale of the Assets in a full, fair and

commercially reasonable manner, and the sale of the Assets to the Buyer pursuant

to the APA is the highest and best sale result for the Assets under the

circumstances. The consideration provided by the Buyer pursuant to the APA will

provide a greater recovery to the Debtors' estates and their creditors than would be

provided by any other alternative. The Debtor’s determination that the APA

constitutes the highest or otherwise best offer for the Assets constitutes a valid and

sound exercise of the Debtor’s business judgment.

The Transaction

      L.       The APA contemplates the sale of the Assets to the Buyer pursuant to

the terms and conditions thereof (the “Transaction”). The APA requires the sale

of the Assets, which are property of the Seller’s bankruptcy estate under



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Bankruptcy Code § 541, and, except as otherwise provided in the APA (and other

than the Assumed Liabilities (as defined and provided for in the APA) or as

otherwise expressly provided in this Sale Order), such sale will be free and clear of

(i) all liens (statutory or otherwise), claims, mortgages, deeds of trust, pledges,

charges, security interests, rights of first refusal, hypothecations, encumbrances,

royalties, easements, servitudes, leases or subleases, rights-of-way, encroachments,

restrictive covenants, restrictions on transferability or other similar restrictions,

rights of offset or recoupment, right of use or possession, subleases, leases,

conditional sale arrangements or, any dedication under any gathering,

transportation, treating, purchasing, or similar agreement that relates to any

Assumed Contract and any other such contract that is not assumed by or assigned

to Buyer, (ii) all claims as defined in Bankruptcy Code § 101(5), including all

rights or causes of action (whether in law or in equity), proceedings, warranties,

guarantees, indemnities, rights of recovery, setoff, recoupment, indemnity or

contribution, obligations, demands, restrictions, indemnification claims, or

liabilities relating to any act or omission of the Debtors or any other person prior to

the Closing (as defined below), consent rights, options, contract rights, covenants,

and interests of any kind or nature whatsoever (known or unknown, matured or

unmatured, accrued or contingent, and regardless of whether currently

exercisable), whether arising prior to or subsequent to the commencement of these



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bankruptcy cases, and whether imposed by agreement, understanding, law, equity,

or otherwise, and (iii) all debts, liabilities, obligations, contractual rights and

claims, and labor, employment and pension claims, in each case, whether known or

unknown, choate or inchoate, filed or untiled, scheduled or unscheduled, noticed or

unnoticed, recorded or unrecorded, perfected or unperfected, allowed or

disallowed, contingent or non-contingent, liquidated or unliquidated, matured or

un-matured, material or non-material, disputed or undisputed, whether arising prior

to or subsequent to the commencement of these bankruptcy cases, and whether

imposed by agreement, understanding, law, equity, or otherwise ((i), (ii), and (iii),

collectively, the “Interests”). Except for the Assumed Liabilities, the Sale shall be

free and clear of, and the Buyer shall not be responsible for any Interests,

including, without limitation, in respect of the following: (i) any rights or Interests

based on any successor or transferee liability, (ii) any Interests that purport to give

any party a right or option to effect any forfeiture, modification, right of first offer

or first refusal, or termination of the Debtor’s or the Buyer’s interest in the Assets,

or any similar rights; (iii) any labor or employment agreements; (iv) mortgages,

deeds of trust, and security interests; (vi) any pension, multiemployer plan (as such

term is defined in § 3(37) or § 4001(a)(3) of ERISA), health or welfare,

compensation, or other employee benefit plans, agreements, practices, and

programs, including, without limitation, any pension plans of the Debtor or any



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multiemployer plan to which the Debtor has at any time contributed to or had any

liability or potential liability; (vii) any other employee, worker’s compensation,

occupational disease, or unemployment or temporary disability related claim,

including, without limitation, claims that might otherwise arise under or pursuant

to (a) the Employee Retirement Income Security Act of 1974, as amended, (b) the

Fair Labor Standards Act, (c) Title VII of the Civil Rights Act of 1964, (d) the

Federal Rehabilitation Act of 1973, (e) the National Labor Relations Act, (f) the

Age Discrimination and Employment Act of 1967 and Age Discrimination in

Employment Act, as amended, (g) the Americans with Disabilities Act of 1990, (h)

the Consolidated Omnibus Budget Reconciliation Act of 1985, as amended,

including, without limitation, the requirements of Part 6 of Subtitle B of Title I of

ERISA and § 4980B of the Internal Revenue Code and of any similar state law, (i)

state discrimination laws, (j) state unemployment compensation laws or any other

similar state laws, (k) any other state or federal benefits or claims relating to any

employment with the Debtor or any of its predecessors, or (l) the WARN Act (29

U.S.C. §§2101 et seq.); (viii) any bulk sales or similar law; (ix) any tax statutes or

ordinances, including, without limitation, the Internal Revenue Code, as amended,

and any taxes arising under or out of, in connection with, or in any way relating to

the operation of the Assets prior to the Closing, including, without limitation, any

ad valorem taxes assessed by any applicable taxing authority; (xii) any unexpired



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and executory contract or unexpired lease to which a Debtor is a party that is not

an Assumed Contract that will be assumed and assigned pursuant to this Sale Order

and the APA; (xiii) any Retained Liabilities (as defined and provided in the APA)

((i) through (xiii), collectively, the “Liens, Claims and Encumbrances”). A sale

of the Assets other than one free and clear of all Liens, Claims and Encumbrances

would yield substantially less value for the Debtors’ estates, with less certainty,

than the transaction as contemplated by the APA (the “Transaction”). Therefore,

the Transaction and approved herein free and clear of all the Liens, Claims and

Encumbrances, except for the Assumed Liabilities, is in the best interests of the

Debtors, their estates and creditors, and all other parties-in-interest.

      M.       The Debtors have full power and authority to execute, deliver, and

consummate the APA and all other documents contemplated thereby. No consents

or approvals, other than those expressly provided for in the APA, are required for

the Seller to consummate the Transaction pursuant to the APA.

      N.       The APA was negotiated, proposed, and entered into by and between

the Seller, on the one hand, and the Buyer, on the other hand, without collusion, in

good faith, and from arm’s length bargaining positions. The Buyer is not an

“insider” or “affiliate” of the Debtors as those terms are defined in the Bankruptcy

Code. Neither the Buyer nor any of its affiliates or agents have any connection or

agreements with the Debtors other than the APA, and neither the Debtors nor the



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Buyer has engaged in any conduct that would cause or permit the application of

Bankruptcy Code § 363(n) to the Transaction, including voiding the Transaction or

APA or any of the transaction documents and related instruments contemplated

thereunder.

      O.       The Buyer is purchasing the Assets in good faith and is a good faith

Buyer within the meaning of Bankruptcy Code § 363(m). The Buyer has

proceeded in good faith in all respects in connection with the sales process,

including, but not limited to, disclosing all agreements and all payments to be

made by the Buyer with respect to the transactions set forth in the APA. The

Buyer is therefore entitled to all of the protections afforded under Bankruptcy

Code § 363(m).

      P.       The terms and conditions of the APA (i) are fair and reasonable; (ii)

valid, binding, and enforceable; (iii) constitute the highest and best offer for the

Assets; (iv) will provide a greater recovery for the Debtors estate’s creditors than

would be provided by any other practical available alternative; and (v) constitute

reasonably equivalent value and fair consideration for the Assets (as those terms

are defined in the Uniform Fraudulent Transfer Act, the Uniform Fraudulent

Conveyance Act, Bankruptcy Code § 548, and the laws of the United States; any

state, tribe, territory, or possession of the United States; and the District of




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Columbia). No other person, entity, or group of entities has offered to purchase the

Assets for greater overall value to the Debtors’ estates than the Buyer.

      Q.       The Transaction was not entered into for the purpose of hindering,

delaying, or defrauding creditors under the Bankruptcy Code or under the laws of

the United States or any state, tribe, territory, or possession of the United States,

including the District of Columbia. Neither the Debtors nor the Buyer is

fraudulently entering into the Transaction contemplated by the APA.

      R.       The Court adopts and approves the judgment of the Debtors that the

relief sought in the Motion, including approval of the APA and other documents

necessary to effectuate the sale of the Assets to the Buyer and consummation of the

Transaction contemplated thereunder, is in the best interests of the Debtors’

bankruptcy estates, creditors, and all parties in interest. The Debtors have

demonstrated good, sound, and sufficient business purpose and justification, and it

is a prudent exercise of the Debtors’ business judgment, to sell the Assets on the

terms and conditions contained in the APA and to consummate the transaction

contemplated thereunder. Because time is of the essence, the Debtors have good

business reasons to sell the Assets prior to obtaining the Bankruptcy Court’s

confirmation of a plan, and the Transaction set forth in the APA does not constitute

a sub rosa plan or dictate the terms of a plan for of the Debtors’ estates.




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      S.       The Buyer would not have entered into the APA and will not

consummate the transaction described therein (thus adversely affecting the

bankruptcy estates and their creditors) if the Assets are not sold free and clear of

any and all Liens, Claims and Encumbrances.

      T.       The Seller has full corporate power and authority and is authorized to

consummate the transactions and sell and transfer the Assets to the Buyer free and

clear of any and all Liens, Claims and Encumbrances because one or more of the

standards enumerated in Bankruptcy Code § 363(f) has been satisfied. All parties

with Liens, Claims and Encumbrances in or upon the Assets who did not object, or

who withdrew their objections to the Transaction, are deemed to have consented

pursuant to Bankruptcy Code § 363(f)(2). All parties with Liens, Claims and

Encumbrances in or upon the Assets who did object to the sale of the Assets to the

Buyer fall within one or more of the other subsections of Bankruptcy Code §

363(f) and are adequately protected by having their Liens, Claims and

Encumbrances attach to the net proceeds of the sale of the Assets with the same

validity, enforceability, priority, force, and effect that they now have as against the

Assets, subject to the rights, claims, defenses, and objections, if any, of the Debtors

and all parties-in-interest with respect to such Liens, Claims and Encumbrances.

      U.       Except as otherwise specifically set forth in this Sale Order or the

APA, the closing of the Transaction under the APA (the “Closing”) will not



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subject the Buyer to any Liens, Claims and Encumbrances of or against the

Debtors or any other person.

      V.       The Seller’s assumption and assignment of the Assumed Contracts is

(i) an exercise of its sound business judgment and (ii) in the best interests of the

Seller’s estate and creditors.

      W.       The Seller has provided the counterparties to the Assumed Contracts

with adequate assurance that it will promptly cure any defaults under the Assumed

Contracts pursuant to Bankruptcy Code § 365(b)(1), and the Buyer has provided

such counterparties with adequate assurance of future performance within the

meaning of Bankruptcy Code §§ 365(b)(1)(C), 365(b)(3), and 365(f)(2)(B).

      X.       Pursuant to Bankruptcy Code § 365 and Bankruptcy Rule 6006, the

amounts set forth on the Contract Notice constitute the cure cost, if any, due and

owing under the Assumed Contracts (collectively, the “Cure Amounts” and each

a “Cure Amount”) and will be fixed and allowed for the Assumed Contracts. No

other amounts are due and owing by the Seller under the Assumed Contracts. The

Buyer will pay the Cure Amounts at the Closing, and the Debtors shall not have

any obligation to pay the Cure Amounts, and the Debtors shall not be responsible

for the obligations under the Assumed Contracts that arise after the Closing. Upon

payment of such amounts by the Seller, all monetary and non-monetary defaults, if

any, under and related to the Assumed Contracts will be deemed to be cured.



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Upon the assignment of the Assumed Contracts, the Buyer shall be deemed to be in

full compliance with all provisions of the Assumed Contracts.

       Y.      The Lessor with respect to the Facility has agreed to assumption and

assignment of the Facility Lease pursuant to the terms of the Modified Lease.

       Z.      The consummation of the sale of the Assets to the Buyer is legal,

valid, and properly authorized under all applicable provisions of the Bankruptcy

Code, including, without limitation, Bankruptcy Code §§ 105(a), 363(b), 363(f),

363(m), and 365.

       AA. Buyer has incurred significant advisor fees and expenses in pursuing

the Transaction (the “Buyer’s Costs”). The APA contains a provision providing

that if the Closing does not occur in accordance with the Agreement and Buyer has

defaulted under or breached the Agreement, then Seller’s liquidated damages will

in the amount of $10,000 and Buyer shall have no further Liabilities of any kind

arising out of or relating to such default or breach (the “Damage Limitation”).

The Damage Limitation is fair and reasonable under the circumstances of this case

including the Buyer’s Costs incurred and Debtors circumstances.

ACCORDINGLY, THE COURT ORDERS THAT:

       1.      The relief requested in the Motion, the Transaction including the sale

of the Assets to the Buyer pursuant to the APA, is granted and approved in its

entirety.



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      2.       To the extent objections to the Motion and Transaction have not been

withdrawn, waived, or settled, such objections and all reservations of right

included therein are overruled on the merits. The parties who did not object or

who withdrew their objections to the Motion and Transection are deemed to have

consented to the Transaction contemplated under the APA pursuant to section

363(f)(2) of the Bankruptcy Code.

      3.       The RigPro APA is terminated without any further obligations or

Claims of any kind or nature of the Debtors, their estates, or Buyer.

Approval of the Transaction
      4.       The APA (and any such other document(s) or modifications as may be

required and/or necessary to effectuate the sale of the Assets to the Buyer) is

approved in its entirety, and the Debtors are authorized to consummate the

transaction set forth in the APA and to satisfy all covenants and obligations set

forth therein.

      5.       The Debtors’ entry into Transaction with the Buyer, entry into the

APA, and consummation of the Transaction contemplated thereunder are approved

pursuant to Bankruptcy Code §§ 105(a), 363, and 365.

      6.       The terms of the APA are fair and reasonable, and the Transaction set

forth therein shall be deemed for all purposes to constitute a transfer for reasonably




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equivalent value and fair consideration under the Bankruptcy Code and any other

applicable law.

      7.       The Debtors have full corporate power and authority and are

authorized and directed under Bankruptcy Code §§ 105(a), 363, and 365 to

perform their obligations under the APA and to execute all such other documents

and take all such other actions that are reasonably necessary to effectuate the

Transactions contemplated by the APA.

      8.       The Buyer shall not be required to seek or obtain relief from the

automatic stay under Bankruptcy Code § 362 to enforce any of its remedies under

the APA or any other sale-related document. The automatic stay imposed by

Bankruptcy Code § 362 is modified solely to the extent necessary to implement the

provisions of this Sale Order and the sale of the Assets to the Buyer. Further, the

Debtors have full power and authority and are authorized and directed upon

Seller’s receipt of the Purchase Price (as defined in the APA) to execute and

deliver such other documents as are necessary to sell to the Buyer good, valid,

legal, and indefeasible title to the Assets free and clear of any and all Liens, Claims

and Encumbrances pursuant to Bankruptcy Code § 363(f). Execution and delivery

by the Debtors shall have the same effect as if done by the party ordered to execute

and deliver such document but who failed to comply with this Sale Order (the

“Non-Compliant Party”). The Debtors shall have no liability or responsibility for



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any liability or other obligation of the Non-Compliant Party arising under or

related to the execution and delivery of such documents, and all parties, including,

but not limited to, the Non-Compliant Party, are prohibited from asserting,

prosecuting, or otherwise pursuing any claim against the Debtors as a result of

execution and delivery of such documents.

      9.       The proceeds from the sale of the Assets shall be held by the Seller

with Liens, Claims and Encumbrances attaching to the proceeds of the sale with

the same validity, enforceability, priority, and force and effect as they had against

the Assets immediately prior to the Closing and shall be distributed only pursuant

to further order of this Court.

Sale and Transfer of the Assets to the Buyer Free and Clear of Any and All
Liens, Claims and Encumbrances
      10.      Except as otherwise provided in this Sale Order or the APA, on the

Closing, the Assets shall be sold and/or otherwise transferred to the Buyer free and

clear of any and all Liens, Claims and Encumbrances or other interests of any kind

or nature, regardless of whether such Liens, Claims and Encumbrances are paid in

full by the Seller, except as otherwise provided in this Sale Order or the APA. Any

and all Liens, Claims and Encumbrances related to the Assets shall attach solely to

the sale proceeds of the Assets with the same validity, enforceability, priority, and

force and effect as they had against the Assets immediately prior to the Closing,




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and subject to the rights, claims, defenses, and objections, if any, of the Debtors

and all parties in interest with respect to such Liens, Claims and Encumbrances.

      11.      Upon the Closing, except as otherwise provided in this Sale Order or

the APA, all parties holding claims against the Debtors or their estates, whether

legal or equitable, secured or unsecured, matured or unmatured, contingent or non-

contingent, senior or subordinated, arising before the Closing or with Liens,

Claims and Encumbrances in or against the Assets existing before the Closing,

shall be, and hereby are, with respect to any and all such Liens, Claims and

Encumbrances, permanently enjoined from: (a) commencing, conducting, or

continuing in any manner, directly or indirectly, any suit, action, or other

proceeding of any kind (including, without limitation, any proceeding in a judicial,

arbitral, administrative, or other forum) against or affecting, directly or indirectly,

the Buyer or the Assets, or any direct or indirect transferee of any of the Assets, or

direct or indirect successor in interest to, the Buyer; (b) enforcing, levying,

attaching (including, without limitation, any prejudgment attachment), collecting,

or otherwise recovering in any manner or by any means, whether directly or

indirectly, any judgment, award, decree, or order against the Buyer or the Assets or

any direct or indirect transferee of any of the Assets, or direct or indirect successor

in interest to, the Buyer; (c) creating, perfecting, or otherwise enforcing in any

manner, directly or indirectly, any and all Liens, Claims and Encumbrance of any



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kind against the Buyer or the Assets, or any direct or indirect transferee of any of

the Assets, or successor in interest to, the Buyer; (d) acting or proceeding in any

manner, in any place whatsoever, that does not conform to or comply with the

provisions of this Sale Order; and (e) commencing or continuing, in any manner or

in any place, any action that does not comply with or is inconsistent with the

provisions of this Sale Order.

      12.      The sale and transfer of the Assets pursuant to this Sale Order and the

APA will vest the Buyer with valid and indefeasible title to the Assets, and will be

a legal, valid, and effective sale and transfer of the Assets free and clear of any and

all Liens, Claims and Encumbrances.

Assumption and Assignment of Assumed Contracts
      13.      The Seller has satisfied the requirements of Bankruptcy Code §§

365(b)(1) and 365(f)(2).

      14.      The Assumed Contracts will be assumed and assigned to the Buyer in

accordance with their respective terms and in accordance with the findings of the

Court in this Sale Order. The Assumed Contracts will remain in full force and

effect notwithstanding any provision in such documents to the contrary (including

provisions of the type described in Bankruptcy Code §§ 365(b)(2), (e)(1), and

(f)(1) which prohibit, restrict, or condition such assignment or transfer). All




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counterparties to the Assumed Contracts are deemed to have consented to the

assignment, if consent was not otherwise obtained in accordance with the APA.

      15.      The Cure Amounts, if any, for the Assumed Contracts are fixed in the

respective amounts set forth on the Cure Notice. All defaults, claims, or other

obligations of the Debtors arising or accruing under each of the Assumed

Contracts, if any, prior to assumption (without giving effect to any acceleration

clauses or any default provisions of the kind specified in Bankruptcy Code §

365(b)(2)) will be cured by the Buyer in accordance with the APA, by paying the

Cure Amounts, if any, and the Debtors shall not have any obligation to pay the

Cure Amounts. No other or further monetary amounts or obligations are due or

existing under or related to the Assumed Contracts by the Debtors, whether

pursuant to Bankruptcy Code § 365(b)(1) or otherwise. The Buyer will pay the

Cure Amounts, if any, in accordance with the terms and provisions set forth in the

APA and this Sale Order.

      16.      The Modified Lease will become effective upon the Closing and all

defaults, claims, or other obligations of the Debtor arising or accruing under the

Facility Lease shall be deemed to have been fully cured pursuant to the terms of

the Modified Lease.

      17.      The assumption and assignment of Assumed Contracts will become

effective upon the Closing. The Seller shall serve upon the counterparties to the



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Assumed Contracts a notice confirming that the Transaction has closed and the

Assumed Contracts have been assumed and assigned to Buyer. Subject to the

terms of this Sale Order and the APA, the Buyer assumes all rights and obligations

of the Seller under the Assumed Contracts. Pursuant to Bankruptcy Code § 365(k),

upon the assignment of the Assumed Contracts to the Buyer, (a) the Seller and

bankruptcy estate are relieved from any and all liability for any breach of the

Assumed Contracts occurring after assignment to the Buyer; and (b) and the Buyer

shall be responsible for the obligations under the Assumed Contracts that arise

after the Closing.

      18.      All counterparties to the Assumed Contracts are forever enjoined and

estopped from contesting the Cure Amounts, if any, and from asserting any default

against the Debtors or Buyer which existed as of the date of the Sale Hearing.

Upon the assignment of the Assumed Contracts, the Buyer shall be deemed to be in

full compliance with all provisions of the Assumed Contracts.

      19.      Upon the Seller’s assignment of the Assumed Contracts to the Buyer,

no monetary or non-monetary default will exist under or relate to the Assumed

Contracts (or any documents related thereto). Upon entry of this Sale Order and

the assumption and assignment of the Assumed Contracts, the Buyer is deemed to

be in compliance with all terms and provisions of the Assumed Contracts.




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      20.      Nothing in this Sale Order, the Motion or in any notice or any other

document is or shall be deemed an admission by the Debtors that any contract is an

executory contract and/or unexpired lease or must be assumed and assigned

pursuant to the APA or in order to consummate the Transaction.

      21.      Any objections that object solely to the Cure Amounts may not

prevent or delay the Debtor’s assumption and assignment of the Assumed

Contracts or the sale of the Assets. If a party objects solely to the Cure Amount of

an Assumed Contract, the Seller may hold the claimed Cure Amount in reserve

pending further order of the Court or mutual agreement of the parties. So long as

the Seller holds the claimed Cure Amount in reserve, and there are no other

unresolved objections to assumption and assignment, the Debtor can, without

further delay, assume and assign the Assumed Contract that is the subject of the

objection. If the parties are able to resolve the dispute with respect to the Cure

Amount, they may file with the Court a notice signed by both parties that

establishes the Cure Amount without further order of the Court. If the parties are

unable to resolve the dispute with respect to the Cure Amount, the Court shall

determine the Cure Amount at a future hearing. Under such circumstances, the

objecting party’s recourse is limited to the funds held in reserve. For purposes of

this paragraph, the term “party” shall mean one or all of the following: the Debtor,

the non-debtor counterparty to the Assumed Contract, and the Buyer.



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Miscellaneous Provisions
      22.      The Purchase Price, which will be paid by the Buyer for the Assets, is

fair and reasonable and may not be avoided under Bankruptcy Code § 363(n) or

other applicable law.

      23.      All persons and entities that are in possession of some or all of the

Assets on the Closing Date are directed to surrender possession of the Assets to the

Buyer.

      24.      This Sale Order is and shall be effective as a determination that, on

the Closing, any and all Liens, Claims and Encumbrances and claims existing as to

the Assets before the Closing have been unconditionally released, discharged, and

terminated in each case as to the Assets.

      25.      Except as otherwise provided in this Sale Order or as specifically set

forth in the APA, the Buyer shall have no liability or responsibility for any liability

or other obligation of the Debtors arising under or related to the Assets. Without

limiting the generality of the foregoing, and except as set forth in the APA with

respect to the Assumed Liabilities, the Buyer shall not be liable for any claims

against the Debtors or any of their predecessors, and the Buyer shall have no

successor, transferee, or vicarious liabilities of any kind or character, whether

known or unknown, now existing or hereafter arising, whether fixed or contingent,

with respect to the Debtors or any obligations of the Debtors arising before the




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Closing, including liabilities on account of any taxes arising, accruing, or payable

under, out of, in connection with, or in any way relating to the operation of the

Debtor before the Closing.

       26.     Under no circumstances shall the Buyer be deemed a successor of or

to the Debtors for any and all Liens, Claims and Encumbrances against or in the

Seller or the Assets. The Buyer is not a mere continuation of the Seller or Debtors’

estates, and there is no continuity of enterprise between the Seller and the Buyer.

The Buyer is not holding itself out to the public as a continuation of the Seller.

The Buyer is not a successor to the Seller, Debtors or their estates, and the

Transaction does not amount to a consolidation, merger, or de factor merger of the

Buyer and the Seller. Under no circumstances shall the Buyer be deemed a

successor of or to the Seller or Debtors for any and all Liens, Claims and

Encumbrances against or in the Seller or the Assets.

       27.     The sale and transfer of the Assets pursuant to the APA shall not

subject the Buyer to any claim, cause of action, indebtedness, or other liability with

respect to the business or operation of the Seller before the Closing or by reason of

such transfer under the Bankruptcy Code or applicable federal and state law, based,

in whole or in part, directly or indirectly, on any theory of law or equity, including

any theory of equitable subordination, successor or transferee liability, or vicarious

liability.



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      28.      No person shall take any action to prevent, enjoin, or otherwise

interfere with consummation of the transactions contemplated in or by the APA or

this Sale Order.

      29.      Each and every federal, state, and local governmental agency or

department is hereby authorized to accept any and all documents and instruments

necessary and appropriate to consummate the transactions contemplated by the

APA and this Sale Order.

      30.      Any person or entity that has filed financing statements, mortgages,

deeds, lis pendens, or other documents or agreements evidencing interests in the

Assets shall deliver to the Seller prior to Closing (in proper form for filing and

executed by the appropriate parties) termination statements, instruments of

satisfaction, and/or releases of all interests that the party has concerning the Assets.

In the event that any such person or entity shall not have delivered to the Seller

such termination statements, instruments of satisfaction, and/or releases of all

interests that the party has concerning the Assets before the Closing, (a) the Debtor

is authorized and directed to execute and file such statements, instruments,

releases, and other documents on behalf of the party concerning the Assets; and (b)

the Buyer is authorized to file, register, or otherwise record a certified copy of this

Sale Order, which, once filed, registered, or otherwise recorded, shall constitute

conclusive evidence of the release of any and all Liens, Claims and Encumbrances



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in the Assets. Execution and delivery by the Seller in accordance with this Sale

Order shall have the same effect as if done by any Non-Compliant Party. The

Debtors shall have no liability or responsibility for any liability or other obligation

of the Non-Compliant Party arising under or related to the execution and delivery

of such documents, and all parties, including but not limited to the Non-Compliant

Party, are prohibited from asserting, prosecuting, or otherwise pursuing any claim

against the Debtors as a result of execution and delivery of such documents.

      31.      The APA and any related agreements, documents, or other

instruments may be modified, amended, or supplemented through a written

document signed by the parties thereto in accordance with the terms thereof

without further order of the Bankruptcy Court; provided, however, that any such

modification, amendment, or supplement is neither material nor changes the

economic substance of the transactions contemplated under the APA and, to the

extent practicable, shall be provided to the any party directly affected by the

modification, amendment or supplement for review and comment at least two (2)

business days prior to being executed by the Seller before otherwise becoming

effective, during which time the directly impacted party may file an objection to

such modification, amendment or supplement with the Court.

      32.      The Debtors have full corporate power and authority and are

authorized and directed under Bankruptcy Code § 363(b)(1) to perform all of their



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obligations in connection with the APA in accordance with the terms thereof and

this Sale Order and to execute all such documents and take such other actions

necessary or required to effectuate the Transaction.

      33.      The terms of this Sale Order and the APA shall be binding on and

inure to the benefit of the Buyer, the Debtors and their estates, the Debtors’

creditors and all other parties-in-interest, and any successors and assigns of such

parties, including any subsequent trustee or examiner appointed in these Cases or

any subsequent or converted case of Debtors under chapter 7 or chapter 11 of the

Bankruptcy Code.

      34.      With respect to the transactions contemplated under the APA and

approved and authorized herein, the Buyer is a Buyer in good faith within the

meaning of Bankruptcy Code § 363(m) and shall be entitled to the protections of

Bankruptcy Code § 363(m) in the event this Sale Order or any authorization

contained herein is reversed or modified on appeal. To the fullest extent permitted

by Bankruptcy Code § 363(m), the reversal or modification of this Sale Order shall

not affect the validity of the sale, transfer, and assignment of the Assets in

accordance with the terms of this Sale Order.

      35.      No bulk sales law or any similar law of any state or other jurisdiction

applies in any way to the sale of the Assets to the Buyer.




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      36.      Nothing in this Sale Order or the APA (a) releases, nullifies,

precludes, or enjoins the enforcement of any liability to a governmental unit under

police and regulatory statutes or regulations that any entity would be subject to as

the owner or operator of property after the date of entry of this Sale Order or (b)

authorizes the transfer or assignment to the Buyer of any license, permit,

registration, authorization, or approval of, or the discontinuation of any obligation

thereunder, or with respect to a governmental unit without the Buyer’s complying

with all applicable legal requirements under non-bankruptcy law governing such

transfers or assignments.

      37.      This Court shall retain jurisdiction to, among other things, interpret,

implement, and enforce the terms and provisions of this Sale Order and the APA,

and all amendments thereto, any waivers and consents thereunder, and each of the

agreements executed in connection therewith to which the Debtors are a party or

which have been assigned to the Buyer, and to adjudicate, if necessary, any and all

disputes concerning or relating in any way to the Transaction, including but not

limited to, retaining jurisdiction to (a) compel delivery of the Assets to the Buyer,

(b) interpret, implement, and enforce the provisions of this Sale Order, and (c)

protect the Buyer against any and all Liens, Claims and Encumbrances in or

against the Debtors or the Assets of any kind or nature whatsoever.




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       38.     Nothing contained in any plan of reorganization or liquidation, or

order of any type or kind entered in (a) these Cases, (b) any subsequent chapter 7

case into which the chapter 11 case may be converted or (c) any related proceeding

subsequent to entry of this Sale Order, shall conflict with or derogate from the

provisions of the APA (as modified by this Sale Order) or the terms of this Sale

Order.

       39.     If the Closing does not occur in accordance with the Agreement and

Buyer has defaulted under or breached the Agreement, then Seller’s liquidated

damages will be limited to the amount of $10,000 and Buyer shall have no further

Liabilities of any kind arising out of or relating to such default or breach or the

APA.

       40.     For good cause shown, this Sale Order shall take effect immediately

and shall not be stayed pursuant to Bankruptcy Rules 6004(h), 6006(d), 7062, or

9014 or other applicable law or procedural rules. The Sellers and the Buyer are

authorized to close the Transaction immediately upon entry of this Sale Order and

are authorized to satisfy the conditions to Closing (as set forth in the APA), as soon

as reasonably practicable.

       41.     Pursuant to section 1146(a) of the Bankruptcy Code, the sale of the

Assets shall not be taxed under any law imposing a stamp tax or similar tax.




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                                  EXHIBIT 2
                         (Notice and Opportunity to Object)




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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
 Offshore Spars Co., et al. 1                      Case No. 23-44657
                                                   Judge Thomas J. Tucker
                         Debtors.                  Chapter 11
                                                   Jointly Administered

   NOTICE AND OPPORTUNITY TO OBJECT TO MOTION FOR ENTRY OF AN
  ORDER (I) APPROVING THE SALE OF ASSETS TO OFFSHORE ACQUISITION,
    LLC FREE AND CLEAR OF LIENS, CLAIMS AND ENCUMBRANCES, (II)
 APPROVING THE ASSET PURCHASE AGREEMENT, (III) TERMINATING ASSET
PURCHASE AGREEMENT WITH RIGPRO, LLC (IV), AUTHORIZING ASSUMPTION
 AND ASSIGNMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES IN
    CONNECTION WITH THE SALE; AND (V) GRANTING RELATED RELIEF

        PLEASE TAKE NOTICE that Offshore Spars Co. (the “Debtor”), by and through its counsel,
Stevenson & Bullock, P.L.C., has filed a Motion (the “Motion”) for Entry Of An Order (I) Approving
the Sale of Assets to Offshore Acquisition, LLC Free and Clear of Liens, Claims and Encumbrances,
(II) Approving the Asset Purchase Agreement, (III) Terminating Asset Purchase Agreement with
Rigpro, LLC (IV), Authorizing Assumption and Assignment of Executory Contracts and Unexpired
Leases in Connection with the Sale; and (V) Granting Related Relief. By the Motion, the Debtor
seeks, inter alia, to sell (the “Sale”) substantially all of its assets (the “Assets”) and to assume and
assign certain executory contracts and unexpired leases (the “Purchased Contracts”) to Offshore
Acquisition, LLC (the “Buyer”) pursuant to an asset purchase agreement by and among the Debtor
and the Buyer (the “APA”).

        The Motion and the order (the “Proposed Sale Order”) proposed to the Court approving the
Motion can be obtained by contacting Debtor’s counsel as set forth below or through the Court’s
electronic filing system.

       The APA contains the following salient terms 2:

               a.       Purchase Price: Under section 2.5(a) of the APA, the aggregate
                        consideration (the “Purchase Price”) for the purchase, sale, assignment, and
                        conveyance of the Assets consists of: (i) cash (the “Cash Consideration”) in
                        an amount equal to $2,430,000.00, less the Cash on Hand.



1
       The Debtors in these jointly administered cases are Offshore Spars Co. (Case No. 23-
44657) and Eric R. Graczyk (Case No. 23-44658).
2
       This paragraph is a summary of the terms of the APA only. Parties are encouraged to
review the APA and the Proposed Sale Order in their entirety. To the extent that a conflict exists
between this Notice or the Motion and the APA , the APA controls.


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                   b.       Assets: Section 2.1 of the APA provides that the Buyer shall purchase
                            substantially all of the Debtor’s assets, as defined as the Purchased Assets
                            therein with all assets to be received free and clear of any Claims, liens,
                            encumbrances and interests which includes, but is not limited to, free and
                            clear of successor and warranty claims.

                   c.       Assumed Liabilities: Section 2.3 of the APA provides that the Buyer will
                            not assume or perform any liabilities of the Debtor other than those set forth
                            therein.

                   d.       Closing. Pursuant to Section 2.6 of the APA, the closing shall take place
                            on the occurrence of the latest of the following: (i) the fifth business day the
                            fifth Business Day after entry of the Sale Order; (ii) Buyer receiving
                            Acceptable Environmental Reports, and (iii) January 12, 2024.

                   e.       Closing Conditions. Pursuant to Section 6.2 of the APA, the closing is
                            conditioned upon, inter alia, the Bankruptcy Court shall have entered the
                            Sale Order and it shall not be subject to a stay pending appeal; Buyer shall
                            have received Acceptable Environmental Reports; the Buyer shall be
                            satisfied in its sole discretion with its legal, financial, accounting, product,
                            operations, environmental, and other diligence of Seller, the Company, the
                            Business, and the Purchased Assets; and the landlord of the Debtor’s facility
                            having executed an amended and modified lease acceptable to Buyer in its
                            sole discretion (the “Modified Lease”) and entry of an order by the
                            Bankruptcy Court acceptable to the Buyer in its sole discretion (which
                            provisions may be included in the Sale Order) authorizing and approving
                            the assumption and assignment of the Modified Lease and establishing the
                            cure amount not to exceed $27,500.00.

       Your rights may be affected. You may wish to review the Motion and discuss it with
your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may
wish to consult one.

       If you wish to object to the Court granting the relief sought in the Motion, or if you want the
Court to otherwise consider your views on the Motion, within twenty-one (21) days of service of the
Motion, or such shorter time as the Court may hereafter order, you or your attorney must:

      1. File with the Court a written response or an answer 3 explaining your position at:

                                        United States Bankruptcy Court
                                             211 West Fort Street
                                           Detroit, Michigan 48226




3
          Response or answer must comply with FED.R.CIV.P. 8(b), (c), and (e).


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If you mail your response to the Court for filing, you must mail it early enough so the Court will
receive it on or before the date stated above.

You must also mail a copy to:

                                   Stevenson & Bullock, P.L.C.
                                     Attn.: Elliot G. Crowder
                                 26100 American Drive, Suite 500
                                   Southfield, Michigan 48034

                                               -and-

                                Office of the United States Trustee
                                 211 West Fort Street, Suite 700
                                     Detroit, Michigan 48226

      If a response or answer is timely filed and served, the clerk may schedule a hearing on the
Motion and you will be served with a notice of the date, time, and location of the hearing.

        If you or your attorney do not take these steps, the Court may decide that you do not oppose
the relief sought in the Motion and may enter an Order granting the relief sought therein.

                                             Respectfully submitted,
                                             STEVENSON & BULLOCK, P.L.C.

                                             By: /s/ Elliot G. Crowder
                                             Elliot G. Crowder (P76137)
                                             Counsel for Debtor
                                             26100 American Drive, Suite 500
                                             Southfield, MI 48034
                                             Phone: (248) 354-7906
                                             Facsimile: (248) 354-7907
Dated: November 3, 2023                      Email: ecrowder@sbplclaw.com




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                                  EXHIBIT 3
                              (Brief – Not applicable)




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                                  EXHIBIT 4
                     (Certificate of Service – filed separately)




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                                  EXHIBIT 5
                           (Declaration of Eric Graczyk)




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                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
 Offshore Spars Co., et al.1                Case No. 23-44657
                                            Judge Thomas J. Tucker
                    Debtors.                Chapter 11
                                            Jointly Administered

  DECLARATION OF ERIC GRACZYK IN SUPPORT OF DEBTOR’S
 MOTION FOR ENTRY OF AN ORDER (I) APPROVING THE SALE OF
 ASSETS TO OFFSHORE ACQUISITION, LLC FREE AND CLEAR OF
LIENS, CLAIMS AND ENCUMBRANCES, (II) APPROVING THE ASSET
 PURCHASE AGREEMENT, (III) TERMINATING ASSET PURCHASE
AGREEMENT WITH RIGPRO, LLC (IV), AUTHORIZING ASSUMPTION
AND ASSIGNMENT OF EXECUTORY CONTRACTS AND UNEXPIRED
  LEASES IN CONNECTION WITH THE SALE; AND (V) GRANTING
                     RELATED RELIEF

      In support of the Motion (the “Motion”)2 for Entry Of An Order (I) Approving

the Sale of Assets to Offshore Acquisition, LLC Free and Clear of Liens, Claims and

Encumbrances, (II) Approving the Asset Purchase Agreement, (III) Terminating

Asset Purchase Agreement with Rigpro, LLC (IV), Authorizing Assumption and

Assignment of Executory Contracts and Unexpired Leases in Connection with the

Sale; and (V) Granting Related Relief filed on behalf of Offshore Spars Co. (the

“Debtor”), I, Eric R Graczyk, declare as follows:


1
      The Debtors in these jointly administered cases are Offshore Spars Co. (Case
No. 23-44657) and Eric G. Graczyk (Case No. 23-44658).
2
     Capitalized terms as used herein have the meanings ascribed to them in the
Motion, unless otherwise stated.


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      1.       Except as otherwise stated herein, I make this declaration upon personal

knowledge and, if called as a witness, could competently testify to the facts

contained herein.

      2.       I am the responsible person for the Debtor.

      3.       On May 23, 2023 (the “Petition Date”) the Debtor filed a voluntary

petition for relief in this Court under Chapter 11 of Title 11 of the United States

Code, 11 U.S.C. §§ 101-1330, as amended (the “Bankruptcy Code”).

      4.       The Debtor continues to manage and operate its business as debtor-in-

possession pursuant to, inter alia, § 1184 of the Bankruptcy Code.

      5.       Deborah Fish has been appointed Subchapter V Trustee in above-

captioned jointly administered cases.

      6.       The Debtor was established in 1976 and its primary business is

designing and manufacturing carbon fiber and composite masts and booms for the

global superyacht market. The Debtor has additional lines of business including

replacement and service of standing and running rigging for yachts, e-commerce,

and carbon fiber manufacturing for other industries, including the aerospace and

automotive industries.

      7.       In January 2022, the Debtor was acquired by Graczyk Holdings, LLC,

a Michigan limited liability company whose sole member is me. Not until after the

purchase of the Debtor did I discover numerous financial improprieties, breaches of



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warranties, and general mismanagement that had befallen the Debtor under previous

ownership. Though I spent considerable time and effort prior the Petition Date

attempting to remedy such matters, a reorganization of the business through a

Subchapter V bankruptcy became necessary.

      8.       Notwithstanding the Debtor’s best efforts, profitability has been a

material concern during the bankruptcy process as customer demands, market

conditions, and creditor pressure have caused issues to the daily operations and

financial well-being of the Debtor.

      9.       The Debtor’s business platform is very specialized operates in a

limited marketspace and has a unique and limited customer base as well as limited

potential purchasers for the Debtor’s assets. Both before and during the pendency

of the bankruptcy case, I affirmatively pursued the potential of selling the Debtor’s

assets or entering into various other business arrangements such as joint venture

opportunities, investment in the Debtor and with both strategic and financial

potential investors (the “Other Opportunities”).

      10.      All of the Other Opportunities discussed by potential buyers or

investors were significantly below the Purchase Price being offered by Buyer.

Indeed, due to the lack of any realistic opportunities, Debtor proposed to sell its

autoclave, tooling, and mast spinners, which was a substantial part of the business,

to Rigpro, LLC which would have yielded less than 1/3rd of the Purchase Price



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being offered by the Buyer.

      11.      I believe that any further marketing of the Debtor’s assets will not yield

a higher or better offer than that being made by the Buyer. Indeed, in my business

judgement further marketing of the Assets would likely harm the Debtor by, among

other things, putting at risk the current customer contracts and putting the current

APA at risk, especially since Buyer’s purchase price is premised upon the Debtor’s

ability to quickly close the transaction.

      12.      The Sale of the Assets maximizes the value to the bankruptcy estate,

relieve the estate of substantial obligations relating to such assets, ensure a pathway

to a confirmable plan and avoid the further deterioration in the value of the Assets.

      13.      The APA with the Buyer represents the highest and best price for the

Assets. Indeed, the proposed sale contemplates a purchase price sufficient to satisfy

all undisputed secured claims, administrative claims, and priority claims of the

Debtor’s bankruptcy estate, while, at the same time, ensuring a distribution to

unsecured creditors that is no less than the proposed distribution in the Plan of

Reorganization of Offshore Spars Co. and Eric R. Graczyk. The material benefit to

all parties includes the removal of any uncertainty of the Debtor’s continued

operations and prompt payment in an amount that was already met with near

universal support by the creditor base.

      14.      Prior to the Buyer approaching me, neither the Debtor nor I had any



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relationship with the Buyer. The proposed sale is the product of extensive arms-

length negotiation between the parties.

      15.      I believe that pursuing the Sale is the course of action most likely to

maximize the value of the Assets. As a result, and in an exercise of my fiduciary

obligations to the bankruptcy estate, I have determined to execute the APA and to

seek authority of the Court to approve the same via the Motion.

      16.      I have made this determination not just with an eye towards the

monetary consideration provided, which is substantial, but also with the well-being

of the Debtor’s customers, employees, and viability in the marketplace.

      17.      I believe that the Buyer has the financial ability to close on the Sale,

is familiar with the Debtor and its business, and will provide a substantial boost to

the Debtor’s customers and market presence.

      18.      The APA has an employment agreement attached to it pursuant to

which I would be employed by the Buyer upon Closing. The material aspects of the

APA; however, including the purchase price for the Assets was negotiated prior to

terms of my employment. The employment agreement supports my ability to

propose a feasible plan of reorganization in my individual bankruptcy case.

      19.      Either through counsel or on my own accord, I have ensured that

constituents to the bankruptcy cases are well-informed of the Sale. By way of

example, I have been engaged in regular conversations with the Subchapter V



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Trustee, who I understood fully supports the Sale and my marketing efforts of the

Debtor’s business in this unique marketspace.

      20.      I also note that the profit margin for the Debtor is slim and feasibility

of the ongoing operations of the Debtor are uncertain.

                                       Conclusion

      21.      I have read, reviewed, and approved the Motion and the Asset Purchase

Agreement.

      22.      I request that parties approve the APA and Sale as it will provide the

best outcome for the entirety of the bankruptcy estate.

      Pursuant to 28 U.S.C. § 1746, I declare to the best of my knowledge, under

penalty of perjury, that the above statements are true and correct.

                                            OFFSHORE SPARS CO.

                                            By: /s/ Eric R. Graczyk
                                            Eric R. Graczyk
                                            Its: Responsible Person
Dated: November 3, 2023




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                                 EXHIBIT 6A
                           (Asset Purchase Agreement)




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                                                                             EXECUTION




                                  Asset Purchase Agreement


                                        By and Between


                             Offshore Acquisition, LLC (Buyer) and
                                   Offshore Spars Co (Seller)


                                               and


                                       Eric R. Graczyk




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                              ASSET PURCHASE AGREEMENT

        This Asset Purchase Agreement (this “Agreement”) is made as of November 2, 2023 (the
“Execution Date”), by and among Offshore Acquisition, LLC, a Michigan limited liability
company (“Buyer”) and Offshore Spars Co. (“Offshore” or “Seller”), a Michigan corporation,
and Eric R. Graczyk (“Graczyk”). Buyer, Seller, and Graczyk are referred to from time to time
in this Agreement individually as, a “Party”, and collectively as, the “Parties”.

                                               Recitals

       WHEREAS, Seller is engaged in the business of designing and manufacturing carbon fiber
and composite products, including for the boat building, aerospace, and automotive industries (the
“Business”).

        WHEREAS, on May 23, 2023, Seller and Graczyk (collectively “Debtors”) each sought
relief under Chapter 11 of the Bankruptcy Code. The Debtors’ bankruptcy cases are currently
pending before the United States Bankruptcy Court for the Eastern District of Michigan, Southern
Division (the “Bankruptcy Court”) entitled as In re Offshore Spars Co., Case No. 23-44657 and
In re Eric R. Graczyk, Case No. 23-44658, and which are being jointly administered (collectively
the “Bankruptcy Cases”).

        WHEREAS, Seller currently operates its Business at a location identified as 50200 E.
Russell Schmidt Blvd, New Baltimore, MI 48051 (the “Facility”) pursuant to that certain Lease
Agreement dated as of April 21, 2015, by and between Seller and Chesterfield 5, LLC (the
“Facility Lease”), which, at Buyer’s discretion and direction, may be assumed and assigned or
rejected by Seller.

        WHEREAS, Debtors in each of their business judgment believes a sale of the Business to
be in the best interests of the bankruptcy estates with respect to the Bankruptcy Cases and all
creditors and parties in interest in the Bankruptcy Cases.

        WHEREAS, Buyer desires to acquire substantially all the assets owned by Seller and
Seller’s operation at the Facility used in the operation of the Business on the terms and conditions
contained in this Agreement, with this Agreement subject to Bankruptcy Court approval and a
final Sale Order entered acceptable to Buyer in its sole discretion providing, among other things
for the sale of Seller’s assets free and clear of all interests, liens, claims and encumbrances and the
assumption and assignment of certain contracts and leases pursuant to the Bankruptcy Code.

       NOW, THEREFORE, for good and valuable consideration, the sufficiency and receipt of
which is hereby acknowledged, the Parties hereby agree as follows.




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               (k)     “Bankruptcy Court” has the meaning set forth in the recitals.

                 (l)    “Books and Records” means all books and records, including books of
account, ledgers and general, financial and accounting records, machinery and equipment
maintenance files, customer lists, customer purchasing histories, price lists, distribution lists,
supplier lists, production data, quality control records and procedures, customer complaints and
inquiry files, records and data (including all correspondence with any Governmental Authority
other than taxing authorities), sales material and records (including pricing history, total sales,
terms and conditions of sale, sales and pricing policies and practices), strategic plans, internal
financial statements, marketing and promotional surveys, material and research and intellectual
property files, and the telephone and facsimile numbers

               (m)     “Business” has the meaning set forth in the recitals.

               (n)   “Business Day” means any day other than any Saturday, Sunday or legal
holiday with the Bankruptcy Court.

               (o)     “Cash on Hand” has the meaning set forth in Section 2.2(a).

               (p)     “Casualty” has the meaning set forth in Section 2.8(b).

               (q)     “Claim” has the meaning set forth in Section 101(5) of the Bankruptcy
Code.

               (r)     “Closing” has the meaning set forth in Section 2.6.

               (s)     “Closing Date” has the meaning set forth in Section 2.6.

                (t)     “Contract” means agreements, contracts, commitments, personal property
leases, real property leases, and other arrangements to which Seller is a party.

               (u)     “Contract Party” has the meaning set forth in Section 5.7(a).

               (v)      “Control” (including the terms “controlled by” and “under common control
with”) means the possession, directly or indirectly, of the power to direct or cause the direction of
the management policies of a Person, whether through the ownership of voting securities, by
contract or credit arrangement, as trustee or executor, or otherwise.

               (w)    “Cure Amounts” means the amount necessary pursuant to 11 U.S.C.
Section 365 to cure defaults under Assumed Contracts as agreed to by Buyer and determined to be
currently due and owing by the Bankruptcy Court prior to Closing.

               (x)     “Effective Time” has the meaning set forth in Section 2.6.

               (y)     “Environmental Defect” means any condition of, in, on, under, about or
affecting any of the Facility that either (i) requires monitoring, reporting, removal, restoration,
remediation or resolution under applicable Environmental Laws; (ii) if known by a federal or state
regulatory agency of competent jurisdiction, would reasonably be expected to cause such federal

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or state regulatory agency to assert that the Facility require monitoring, reporting, removal,
restoration, remediation or resolution under applicable Environmental Laws; or (iii) creates any
liabilities or obligations under Environmental Laws

                 (z)    “Environmental Laws” means any federal, state, or local Applicable Law
relating to the prevention of pollution, protection of health or the environment or natural resources,
restoration of environmental quality, or releases of or exposure to Hazardous Materials or the
handling, generation, treatment, transportation, storage, use, arrangement for disposal or disposal,
manufacture, distribution, formulation, packaging or labeling of Hazardous Materials, including
the following federal statutes and the regulations promulgated thereunder: the Comprehensive
Environmental Response, Compensation and Liability Act of 1980; the Emergency Planning and
Community Right-To-Know Act; the Resources Conservation and Recovery Act; the Clean Air
Act; the Clean Water Act; the Safe Drinking Water Act; the Oil Pollution Act; the Toxic
Substances Control Act; the Hazardous Materials Transportation Act; the Federal Insecticide,
Fungicide, and Rodenticide Act; and the regulations promulgated pursuant thereto and analogous
State and local Applicable Laws.

               (aa) “Equipment” means the equipment owned by Seller and used in the
Business, including furniture, fixtures, equipment (including office and phone system equipment
owned by Seller, if any), machinery, parts, computer hardware, tools, dies, jigs, assembly boards,
patterns, molds and all other tangible personal property (other than the Inventory) and including
the equipment identified on Schedule 1(aa).

               (bb)    “Excluded Assets” has the meaning set forth in Section 2.2.

               (cc)    “Excluded Contract” mean any contract of Seller that is not an Assumed
Contract.

               (dd)    “Facility” has the meaning set forth in the recitals.

               (ee)    “Facility Lease” has the meaning set forth in the recitals.

                (ff)     “Governmental Authority” means the Bankruptcy Court, any court,
tribunal, arbitrator, authority, agency, commission, official or other instrumentality of the United
States, any foreign country or any domestic or foreign state, county, city or other political
subdivision or any arbitral body.

                (gg) “Hazardous Material(s)” means asbestos, petroleum, polychlorinated
biphenyl and any other materials defined as a hazardous substance, hazardous waste, hazardous
constituents or solid waste in (i) the Comprehensive Environmental Response, Compensation and
Liability Act of 1980, 42 U.S.C. §9601 et seq., as amended by Superfund Amendments and
Reauthorization Act of 1986 (Pub. L. 99-499 100 Stat. 1613), and any amendments thereto and
regulations thereunder, (ii) the Resource Conservation and Recovery Act, 42 U.S.C. §6901 et seq.,
and any amendments thereto and regulations thereunder, (iii) Section 311 of the Federal Water
Pollution Control Act, 33 U.S.C. §1251 et seq. (33 U.S.C. §1321), (iv) the Hazardous Materials
Transportation Act (49 U.S.C. § 1801 et seq.), (v) the Toxic Substance Control Act (15 U.S.C.
§ 2601 et seq.), (vi) the Federal Insecticide, Fungicide and Rodenticide Control Act (7 U.S.C. §
136 et seq.), (vii) the Occupational Safety and Health Act of 1970 (29 U.S.C. § 651 et seq.), (viii)

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the Emergency Planning and Community Right to Know Act of 1986 (42 U.S.C. § 11001 et seq.),
(ix) the Hazardous and Solid Waste Amendments of 1984 (Public Law 86-616 Nov. 9, 1984), (x)
the Federal Clean Air Act (42 U.S.C. § 7401 et seq.), and in the regulations promulgated pursuant
to such laws, all as amended, (xi) the Carpenter-Presley-Tanner Hazardous Substance Account Act
(HLTH & S § 25300 et seq.), (xii) the Hazardous Waste Control Law (HLTH & S § 25100 et seq.),
and (xiii) any federal, state or local law, statute, ordinance or regulation.

                 (hh)   “Indebtedness” means any obligations of Seller outstanding as of the
Closing:

                        (i)     for indebtedness for borrowed money;

                      (ii)    for indebtedness for accounts payable that are overdue beyond
ninety days following the required payment terms;

                        (iii)   under any letter of credit;

                      (iv)    under any interest rate swap or hedge Contract, and any costs
associated with termination of any such arrangement;

                        (v)     with respect to capitalized lease obligations;

                        (vi)    under purchase money financing arrangements;

                        (vii)   secured by a Lien on the Purchased Assets;

                       (viii) with respect to amounts owed with respect to any prior acquisitions
of Seller (including any contingent payments with respect thereto);

                      (ix)    related to deferred compensation arrangements, severance
payments, obligations to pay accrued bonuses, profit sharing obligations or commissions owed to
any current or former employee, and stay, success or other bonuses related to the transactions
contemplated herein;

                        (x)    for the employer’s share of any payroll Taxes due in connection with
the obligations of the type referred to in clause (ix);

                        (xi)    with respect to unpaid dividends or distributions;

                        (xii)   for any interest, fees, penalties, or other payments relating to any of
the foregoing;

                        (xiii) for any loan, grant or assistance provided by any Governmental
Authority, whether or not Seller is required to pay back such loan, grant or assistance or such loan,
grant or assistance is eligible for forgiveness, including any amounts remaining outstanding under
loans issued to or made available to Seller under the Paycheck Protection Program; and

                        (xiv)   all guarantees by Seller of obligations of the type referred to above.


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                (ii)   “Inventory” means all inventory of any kind or nature, including raw
materials, work in process, finished goods, service parts and supplies whether or not prepaid,
including all such items located at the Business.

                  (jj)    “Liabilities” means any Indebtedness, Claims, Liens, damages, lawsuits,
liabilities, obligations, losses, fines or other penalties, royalties, Actions, proceedings, deficiencies,
duties, obligations, contracts, agreements, debts, obligations, interests or other liabilities, whether
statutory, regulatory or judicially created, including warranties or other Business commitments,
representations or promises (whether absolute, accrued, contingent, fixed, liquidated or
unliquidated, or otherwise, or whether known or unknown, or whether due or to become due, and
whether in contract, tort, strict liability or otherwise, and whether or not resulting from third-party
claims).

                (kk) “Lien” means any security interest, pledge, mortgage, lien, charge, adverse
claim of ownership or use, restriction on transfer (such as a right of first refusal or other similar
right), defect of title, encroachments, or other encumbrance of any kind or character.

                (ll)     “Material Adverse Effect” means any circumstance, event, effect or
change that, individually or in the aggregate, is or would reasonably be expected to be materially
adverse to (i) the Business, or the results of operations, or condition (financial or otherwise) of the
Facility, taken as a whole, (ii) the Purchased Assets; or (iii) the ability of Seller to perform its
obligations under this Agreement or to consummate the transactions contemplated under this
Agreement; provided, that no circumstance, event, effect or change arising out of any of the
following shall be deemed, either alone or in combination, to constitute or contribute to a Material
Adverse Effect: (A) any condition, change, effect, or circumstance generally affecting any of the
industries or markets in which Seller operates; (B) any change in any law or generally accepted
accounting principles (or changes in interpretations of any law or generally accepted accounting
principles); (C) general economic, regulatory, or political conditions (or changes therein) or
conditions (or changes therein) in the financial, credit, or securities markets; (D) any acts of God,
natural disasters, terrorism, armed hostilities, sabotage, war, or any escalation or worsening of any
of the foregoing; (E) the negotiation, execution, announcement, consummation, or existence of
this Agreement or the transactions contemplated hereby (including the threatened or actual impact
on relationships of Seller with customers, vendors, suppliers, distributors, landlords or employees
(including the threatened or actual termination, suspension, modification or reduction of such
relationships)); (F) any action required or permitted to be taken pursuant to the terms of this
Agreement or upon the mutual written consent of the Parties; (G) actions or effects caused by or
under the responsibility of Buyer; (H) failure by Seller to meet any projections, forecasts, or other
pro forma financial information; and (I) any litigation or claim threatened or initiated by creditors
of Seller against Seller or any of its officers or directors, in each case, arising out of the execution
of this Agreement or the transactions contemplated hereby; except in the circumstances
contemplated by clauses (A), (B), and (D) above, to the extent any such condition, change, effect,
or circumstance has a material and disproportionate adverse effect on Seller relative to other
similarly situated participants in the industries and markets in which Seller operates.

                (mm)     “Modified Lease” has the meaning set forth in Section 6.2.(h).



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               (nn)    “Modified Lease Approval Order” has the meaning set forth in Section
6.2.(h)

               (oo)    “Outside Closing Date” has the meaning set forth in Section 2.6.

               (pp) “Permits” means to the extent transferrable, all licenses, permits (including
occupancy permits), certificates, registrations, approvals, franchises, consents and other
authorizations of Seller obtained from or filed with a Governmental Authority and required or used
in connection with the Business.

             (qq)    “Person” means any natural person, corporation, limited liability company,
general partnership, limited partnership, sole proprietorship, trust, union, association,
Governmental Authority or other business organization.

               (rr)    “Purchase Price” has the meaning set forth in Section 2.5(a).

               (ss)    “Purchased Assets” has the meaning set forth in Section 2.1.

               (tt)    “Rejected Contracts” has the meaning set forth in Section 5.7(b).

               (uu) “Related Agreements” means, collectively (i) a Bill of Sale if requested by
Buyer in form and substance agreed to by Buyer, (ii) an Assignment and Assumption Agreement,
(iii) an employment contract by and between Buyer and Graczyk; (iv) the executed Modified
Lease, and (vi) any other agreements, documents, and instruments related to the transactions
contemplated herein.

              (vv) “Related Person” means, with respect to a specific Person, any officer,
director, member, manager, employee, agent, shareholder, representative, successor or assign of
such Person.

               (ww) “Retained Liabilities” has the meaning set forth in Section 2.4.

               (xx) “Sale Order” means a final non-appealed or appealable order, in the form
attached hereto as Schedule 2.6 or as otherwise approved by Buyer, and entered by the Bankruptcy
Court in the Bankruptcy Cases approving the consummation of the transactions contemplated in
this Agreement pursuant to Sections 363 and 365 of the Bankruptcy Code.

              (yy)     “Seller’s Knowledge” shall mean the actual knowledge of Graczyk after
reasonable inquiry.

               (zz)    “Seller Warranties” has the meaning set forth in Section 2.2 (j)

                (aaa) “Tax” and “Taxes” means any and all taxes, fees, levies, duties, tariffs,
import charges and other charges imposed by any taxing authority, together with any related
interest, penalties or other additions thereto, or additional amounts imposed by any taxing
authority, and without limiting the generality of the foregoing, shall include net income alternative
or add-on minimum tax, gross income, gross receipts, sales, use, ad valorem, value added,
franchise, profits, license, transfer, recording, escheat, withholding, payroll, employment, excise,

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              (i)     all prospect lists (including all books, records and other materials, in hard
copy and electronic format, that are in the possession of any Person that performs marketing
services on behalf of Seller), marketing information, computer software and software licenses,
telephone and fax numbers, telephone listings, email addresses and domain names used by the
Business;

                (j)     all transferable third-party warranties and Seller rights to claims for
warranties relating to the Purchased Assets, together with the obligations and Liabilities related
thereto (collectively, the “Seller Warranties”);

                (k)     all claims, rights and rebates (and benefits arising therefrom) with, against
or owing from all third Persons whomsoever, including all rights against suppliers under
warranties covering any of the Inventory or Equipment and all rights against suppliers with respect
to rebates, discounts, and allowances (including refunds and credits) to the extent they are legally
transferable by Seller;

               (l)     all rights in connection with deposits made, and prepaid expenses paid, by
Seller;

             (m)    all Tax refunds, rebates, payments for past due obligations, and refunds of
overpayments which are related to Seller’s operation of the Business prior to the Closing;

               (n)    all other assets of Seller relating to or used in connection with the Business
that are not Excluded Assets;

               (o)     The 2022 Ford Explorer (VIN 1FM5K8GC1NGC20904);

              (p)    general intangibles, and community specific intellectual property, if
assignable under Applicable Law; and

               (q)     Claims and causes of action of Seller including Avoidance Actions.

        2.2     Excluded Assets. Notwithstanding Section 2.1, the Parties acknowledge that
Seller shall not sell, assign, transfer or convey to Buyer, and Buyer shall not purchase, acquire or
accept from Seller, the Excluded Assets (all such assets, the “Excluded Assets”) consisting of the
following:

               (a)    All cash on hand as of the Closing Date other than funds in the Seller’s
professional fee escrow account not to exceed $52,500.00 (the “Cash on Hand”);

              (b)     To the extent remaining as of the Closing Date, Seller Claims against Steven
King and defenses to Claims by Steven King.

                (c)     all set-off rights to Claims filed or asserted in the Bankruptcy Cases (except
to the extent arising in connection with an Assumed Contract);

              (d)     hold-backs and escrows for any prorations or Taxes being paid by Seller in
connection with the Closing or afterward;

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               (e)    all (i) original Tax, accounting and financial records which pertain
exclusively to the Excluded Assets, and (iii) such other files, books and records which pertain
exclusively to the Excluded Assets or to the formation, existence or capitalization of Seller or of
any other Person;

               (f)    all Inventory and assets of the Business disposed of or exhausted prior to
Closing in the ordinary course of business;

               (g)     any records which Seller is legally required to retain in its possession and
any records related to Excluded Assets or Retained Liabilities (as hereinafter defined);

               (h)     all equipment and tangible property located at the Business but not owned
by Seller, and all other assets, properties and rights not related to or used in the Business, except
for any equipment or personal property leased by Seller under any Assumed Contract;

               (i)     Seller’s attorney-client and work-product privileges.

               (j)     Seller Liabilities of any kind or nature associated with the business
operations that do not arise under Assumed Contracts.

        2.3     Assumed Liabilities. Upon the terms and subject to the conditions contained in
this Agreement, at the Closing, Buyer shall assume or otherwise be responsible, which amounts
shall be in addition to the Purchase Price, for (collectively, the “Assumed Liabilities”):

               (a)     all Liabilities under the Purchased Assets accruing or arising after the
Closing;

               (b)      all Liabilities associated with the Assumed Contracts from and after
Closing, including all Cure Amounts associated therewith (which Cure Amounts shall be a bar to
any pre-existing liabilities);

               (c)    all Liabilities required to be paid by Buyer pursuant to this Agreement
(including stamp and recording Taxes).

        2.4     Retained Liabilities. Other than the Assumed Liabilities, Buyer shall not assume
from Seller, and will not be responsible for or otherwise bear the economic burden of, any claims
against or Liabilities or obligations of Seller, whether accrued, matured, unmatured, absolute or
contingent, whether known or unknown, whether due or to become due and regardless of when
asserted (all such claims and liabilities (the “Retained Liabilities”), all of which shall be retained
by Seller, including:

                (a)    malpractice, professional liability or other tort claims, statutory or
regulatory claims, claims of local, state or federal agencies whether civil or criminal, fraud-based
claims or claims for breach of contract to the extent any such claims are based on acts or omissions
of Seller or events occurring at the Facility before the Effective Time;

             (b)    any accounts payable, taxes, or other obligation or Liabilities of Seller to
pay money incurred by Seller for periods prior to the Effective Time;

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               (c)    any collective bargaining agreements or other agreements or understandings
with any labor union or collective bargaining unit or any employment or consulting agreements of
any kind and any Liabilities arising from any pension fund or benefits programs;

                (d)      any claims by any current or former employees, contractors or other third
parties related to acts or omissions of Seller;

               (e)     any administrative expense Claims accruing in the Bankruptcy Cases;

               (f)     Liabilities of Seller arising under or in connection with any Excluded
Contract;

                (g)      Liabilities of Seller arising under all employment and change of control
contracts, severance obligations, equity option contracts and equity purchase contracts to which
Seller is a party other than any Liability arising pursuant to any Assumed Contract;

              (h)     Liabilities or obligations in connection with any Indebtedness of Seller,
except pursuant to any Assumed Contract or other Assumed Liability;

               (i)    other than Cure Amounts related to the Assumed Contracts, all pre-petition
and post-petition Liabilities as of the Closing Date, including all trade payables and general
unsecured Claims;

               (j)     any Liability arising out of, under or in connection with the Excluded
Assets;

                (k)    any Liabilities for salaries, wages, bonus, sales commission, severance,
vacation and sick pay, profit sharing obligations, health insurance continuation (including
COBRA) and other compensation or benefits which are owed to current or former employees,
contractors or representatives of Seller as of the Closing Date for work performed prior to the
Closing Date (whether or not such employees or representatives become employees or
representatives of Buyer on the Closing Date) or any other liability or obligation to any of Seller’s
current or former employees, contractors or representatives with respect to their employment or
relationship on or prior to the Closing Date, including any liabilities for medical, dental and
disability (both long-term and short-term) benefits, whether insured or self-insured, accruing or
based upon exposure to conditions or aggravation of disabilities or conditions in existence on or
prior to the Closing Date or for claims incurred or disabilities commencing on or prior to the
Closing Date;

             (l)     all Liabilities relating to (including amounts or notice due to) employees,
former employees, consultants, former consultants or retirees of Seller based on the termination of
such employment or engagement by Seller, including any amounts due to such Persons prior to
Closing;

                (m)    any Liabilities and obligations in connection with any employee benefit
plan, practice, program, policy, agreement or arrangement that is maintained, sponsored or
contributed to (or formerly maintained, sponsored or contributed to), or required to be contributed
to, by Seller;

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                (n)    Liabilities, asserted or unasserted, arising out of or in connection with
damage to or destruction of property or death of or injury to persons or involving products
manufactured or sold by Seller or the Business or services performed by Seller or the Business on
or prior to the Closing Date;

               (o)     any Liabilities for Taxes; and

               (p)     any Liability that is not an Assumed Liability.

       2.5     Closing Proceedings.

             (a)    The aggregate Purchase Price under this Agreement is $2,430,000.00
(“Purchase Price”) minus the Cash on Hand.

               (b)    At the Closing, in addition to such other actions as may be provided for
herein, Buyer shall pay to Seller, in cash, an amount equal to the Purchase Price.

                 (c)    At the Closing, Buyer shall assume the Assumed Liabilities (which shall be
in addition to, and not a credit against, the Purchase Price), and with regard to Assumed Contracts,
shall pay to each Assumed Contract party any Cure Amounts, in cash, by wire transfer of
immediately available funds, necessary to acquire any Assumed Contract, at such time as may be
designated by the Bankruptcy Court in the Sale Order.

               (d)     At the Closing, the Parties will execute and deliver the Related Agreements.

        2.6       Time and Place of Closing. Subject to the terms of this Agreement, the closing of
the transactions contemplated hereby (the “Closing”) shall take place on the occurrence of the
latest of the following: (i) the fifth Business Day after entry of the Sale Order; (ii) Buyer receiving
Acceptable Environmental Reports, and (iii) January 12, 2024 (the “Outside Closing Date”)
(clauses (i), (ii) and (iii) being collectively the “Closing Date”), unless otherwise mutually agreed
by the Parties. The transactions contemplated hereby shall take place pursuant to, and in
accordance with, the terms and conditions hereof. The Closing shall be effective as of 11:59 p.m.
on the Closing Date or such other date and time as the Parties may agree upon in writing (the
“Effective Time”).

       2.7     Purchase Price Allocation. Buyer and Seller shall allocate the Purchase Price
(together with Assumed Liabilities properly included, if any) among the Purchased Assets in
accordance with Schedule 2.7 (the “Allocation Schedule”), which shall be prepared in a manner
consistent with Section 1060 of the Internal Revenue Code and the Treasury Regulations
thereunder, provided however that such allocation shall not be binding on any party for any
purpose other than for Tax purposes. Seller and Buyer agree to file their respective IRS Forms
8594 and all federal, state and local Tax returns in accordance with the Allocation Schedule.

       2.8     Risk of Loss.

               In the event that all or any material part of the Purchased Assets are damaged or
destroyed by fire, windstorm or any other casualty (“Casualty”) on or prior to the Closing, Seller
shall promptly notify Buyer in writing of such damage or destruction. In the event that such

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practices, labor relations, terms and conditions of employment, and wages and hours. To Seller’s
Knowledge there are no material actions, suits or legal, administrative, arbitration or other
proceedings or governmental investigations pending or threatened against Seller in respect of, any
unemployment or workers’ compensation benefits or wrongful discharge, sexual harassment,
employment discrimination, unfair labor practices or other violation of any applicable federal, state
or local employment law. There are pending or, to Seller’s Knowledge, threatened Actions before
or claims by a Governmental Authority regarding employment discrimination, unfair labor
practices, safety or other employment-related charges or complaints, wage and hour claims,
unemployment compensation claims, workers’ compensation claims or the like. Seller is not a
party to and is not otherwise bound by any labor agreement, collective bargaining agreement, or
other similar contract.

       3.6     Multi-Employer Plans. Seller has not, nor is it required to, contribute (and has
not ever contributed or been required to contribute) to any multi-employer plan, as defined in
Section 3(37) of the Employee Retirement Income Security Act of 1974, as amended.

        3.7     Compliance. To Seller’s Knowledge, to the extent applicable, Seller is complying
in all material respects with all applicable statutes, rules, regulations, and requirements of each
Governmental Authority having jurisdiction over Seller, the Business, and the Purchased Assets.

       3.8     Regulatory and Legal Compliance. To Seller’s Knowledge, Seller has not
received any written notice from any Governmental Authority of any alleged violation or
noncompliance that has not been cured or addressed by a plan of corrective action, or which, if
adversely determined, would not reasonably be expected to have a Material Adverse Effect.

        3.9    Prohibited Practices. During the eighteen month period prior to the Execution
Date, no officers or directors of Seller have, during their period of engagement with Seller, been
charged with, convicted of or pleaded guilty to crimes of theft or dishonesty, financial misconduct,
or offenses. To Seller’s Knowledge, during the eighteen month period prior to the Execution Date,
none of Seller’s officers, directors or employees has engaged in any conduct that may result in
sanctions to Seller under any federal or state laws.

       3.10 Government Investigations. During the eighteen month period prior to the
Closing Date, Seller has received no written notice of the commencement of any investigation
proceedings or any governmental investigation or Action (including any civil investigative demand
or subpoena).

       3.11 Broker. Seller has not incurred any liability for any fee or commission to any
broker, finder, investment banker or other intermediary in connection with the transactions
contemplated by this Agreement that would result in any liability, fee, expense or obligation being
imposed on Buyer.

         3.12 Environmental Matters. (a) to Seller’s Knowledge, there are no material
environmental liabilities on or affecting any of the Facility, (b) to Seller’s Knowledge, Seller has
at all times operated the Facility and conducted the Business and, during the period that Seller
owned the Facility and any third party operated any such Business, such third party operated the
Business, in each case, in compliance with all applicable Environmental Laws and all Permits


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required thereunder or issued pursuant thereto; (c) there are no Actions pending or to Seller’s
Knowledge threatened before any Governmental Authority operation of the Facility alleging
violations of Environmental Laws, or claiming material remediation obligations under applicable
Environmental Laws, and Seller has not received any written notice of any alleged or actual
violation or non-compliance with any Environmental Law or of non-compliance with the terms or
conditions of any environmental Permits, arising from, based upon, associated with or related to
the Facility and (d) to the extent in Seller’s possession or control, Seller has provided Buyer access
to accurate and complete copies of all final written environmental reports, studies and notices in
Seller’s possession prepared by any third party on behalf of, or delivered by a Governmental
Authority to, Seller with respect to the Real Property, that identify or allege any Environmental
Defect on or affecting the Real Property.

       3.13    [Intentionally omitted]

        3.14 Insurance. Schedule 3.14 sets forth an accurate and complete list of all insurance
policies or self-insurance funds maintained by Seller or its representatives or agents with respect
to the Business and Seller as of the Execution Date covering the ownership and operation of the
Business, indicating the types of insurance, policy numbers, terms, identity of insurers and
amounts and coverages (including applicable deductibles).

        3.15 Intellectual Property. Seller owns or has the right to use all intellectual property
used in connection with the ownership or operation of the Business. The conduct of the Business
does not infringe or otherwise violate any intellectual property or other proprietary rights of any
other Person, and there is no action pending or, to Seller’s Knowledge, threatened, alleging any
such infringement or violation or challenging Seller’s rights in or to any of its intellectual property.

       3.16    Tax Matters. Except as set forth on Schedule 3.16:

               (a)     [Intentionally omitted]

                (b)    There are no liens relating to Taxes on any of the Purchased Assets other
than liens for Taxes not yet due and payable.

               (c)   To Seller’s Knowledge, proper and accurate amounts have been withheld
by Seller in compliance with the payroll tax and other withholding provisions of all Applicable
Laws, and all such amounts have been remitted to the proper taxing authority.

                (d)     Seller has filed all tax returns required to be filed by it, including all tax
returns relating to the Purchased Assets (all of which are true, complete and correct in all material
respects). Seller has not waived any statute of limitations in respect of Taxes or agreed to any
extension of time with respect to a tax assessment or deficiency, which currently remains in effect.

               (e)    To Seller’s Knowledge, no deficiencies for Taxes have been claimed,
proposed or assessed by any Governmental Authority for which Seller may have any liability or
which may attach to the Purchased Assets. There are no pending or, to Seller’s Knowledge,
threatened proceedings for or relating to any liability in respect of Taxes for which Seller may
have any liability or which may attach to the Purchased Assets. There are no matters under
discussion by Seller with any Governmental Authority with respect to Taxes that may result in an

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such materials and information and take such other actions as Buyer may reasonably deem
necessary or desirable in order more effectively to transfer, convey and assign to Buyer, and to
confirm Buyer’s title to, all of the Purchased Assets.

          5.4   Buyer’s Closing Deliveries. At the Closing, Buyer shall deliver the following to
Seller:

                (a)    the Purchase Price;

                (b)    the Related Agreements to which Buyer is a party, duly executed by Buyer;

               (c)   a certificate executed as of the Closing Date by a duly authorized
representative of Buyer, certifying that the conditions set forth in this Agreement have been
satisfied; and

                (d)   all other documents and instruments contemplated to be delivered by Buyer
pursuant to this Agreement.

          5.5   Seller’s Closing Deliveries. At the Closing, Seller shall deliver the following to
Buyer:

                (a)    the Related Agreements to which Seller is a party, duly executed by Seller;

                (b)   all other documents and instruments contemplated to be delivered by Seller
pursuant to this Agreement.

        5.6     Employees. Immediately prior to the Effective Time (the “Termination Date”),
Seller shall terminate all of its employees, and, as of the Effective Time, Buyer may, at its option,
offer employment to such persons on an at-will basis and subject to Buyer’s pre-employment
screenings and employment practices, policies and procedures. Seller agrees to use its
commercially reasonable efforts to make employment records and other related information
reasonably requested by Buyer available to Buyer, subject to Applicable Law.

          5.7   Assumed and Assigned Contracts.

                (a)     Cure Process. Buyer shall assume all obligations from and after the Closing
Date under Assumed Contracts, and at such time as is required by the Bankruptcy Court in the
Sale Order. Seller shall be required to pay cash or other acceptable consideration to the third party
(or parties) to the applicable Assumed Contract (each, a “Contract Party”) in order to cure the
monetary defaults and satisfy any pecuniary obligations of Seller (or obtain waivers with respect
thereto) with respect to the Business, and to provide adequate assurance of future performance
under the Assumed Contracts.

               (b)    Identification of Assumed Contracts. Schedule 5.7(b) identifies all
Contracts Buyer wishes to be assumed by Seller and assigned by Seller to Buyer at Closing (the
“Assumed Contracts”) with all other Contracts that Buyer will not be seeking to be assigned by
Seller to be considered rejected contracts (the “Rejected Contracts”), provided that Buyer may
modify Schedule 5.7(b) up to three (3) Business Days before the Closing Date. Seller shall move

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to assume and assign to Buyer, effective as of the Closing Date, any Assumed Contract that is
designated on or before the 10th day after the Execution Date by Buyer to Seller. Notwithstanding
anything to the contrary set forth herein, Buyer shall be permitted to remove any Contract from
the Assumed Contracts list (thereby automatically treating it as Rejected Contracts until three
Business Days before the Closing Date. After the Closing Date, Seller shall be released from any
further liability under such Assumed Contracts as provided for under Section 365(k) of the
Bankruptcy Code.

                (c)     Non-Assignment of Assets. Notwithstanding any other provision of this
Agreement to the contrary, this Agreement shall not constitute an agreement to assign or transfer
and shall not affect the assignment or transfer of any Purchased Asset if (i) notwithstanding section
365 of the Bankruptcy Code, an attempted assignment thereof, without the approval, authorization
or consent of, or granting or issuance of any license or permit by, any third party thereto would
constitute a breach thereof, or (ii) the Bankruptcy Court shall not have approved assumption and
assignment of any Assumed Contract for any reason (each such action in (i) and (ii), a “Necessary
Consent”). In such event, Seller and Buyer shall use their commercially reasonable efforts, to
obtain the Necessary Consents with respect to any such Assumed Contract after the Closing;
provided that the failure to obtain any Necessary Consent shall not delay the Closing or give rise
to a reduction in the Purchase Price. Nothing in this Section 5.7 shall in any way diminish or
enlarge (x) Buyer’s obligations hereunder to obtain the applicable Approvals, or (y) the Parties’
obligations hereunder to obtain the Necessary Consents.

        5.8    Seller-Specific Covenants. From the Execution Date until the earlier of
termination of this Agreement or the Closing, Seller shall use commercially reasonable efforts to
(except as otherwise consented to or approved by Buyer in writing, which consent or approval
shall not be unreasonably withheld, conditioned or delayed):

                (a)    operate the Business in the ordinary course consistent with Seller’s past
practices, as operated during Seller’s bankruptcy;

              (b)     preserve and keep all its books and records related to or prepared in
connection with the Purchased Assets, subject to Seller’s normal document retention protocol;

               (c)    obtain, on or prior to the Closing, any consents required to be obtained by
Seller necessary for Seller to fulfill its obligations to consummate the transactions contemplated
hereby;

               (d)     comply in all material respects with all Applicable Laws, in conjunction
with the execution, delivery and performance of this Agreement and the transactions contemplated
hereby;

                (e)    timely file federal, state, and local tax returns, and pay all amounts then due
(other than those amounts being disputed in good faith and with appropriate proceedings), with
respect to all periods through and including the Closing Date, subject to the claims allowance
process in the Bankruptcy Cases;

             (f)     not sell, lease or otherwise dispose of all or any part of any Facility or the
Purchased Assets other than in the ordinary course of business;

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         6.1    Conditions to Obligations of Seller to Close. The obligation of Seller to effect
the closing of the transactions contemplated by this Agreement is subject to the satisfaction prior
to or at the Closing of the following conditions, any of which may, in sole discretion of Seller, be
waived in whole or in part:

              (a)     Bankruptcy Matters. The Bankruptcy Court shall have entered the Sale
Order on terms satisfactory to Buyer approving a sale to Buyer and it shall not be subject to a stay
pending appeal.

               (b)     Observance and Performance. Buyer shall have performed and complied
with, in all material respects, all covenants and agreements required by this Agreement to be
performed and complied with by it prior to or as of the Closing Date, and all representations and
warranties of Buyer shall remain true and correct as of Closing.

              (c)    Buyer Transaction Documents. Buyer shall have delivered to Seller all the
documents, instruments and agreements set forth in Section 5.4.

               (d)    No Legal Actions. No Governmental Authority shall have issued an order,
not subsequently vacated, restraining, enjoining or otherwise prohibiting the consummation of the
transactions contemplated by this Agreement.

        6.2     Conditions to Obligation of Buyer to Close. The obligation of Buyer to affect
the closing of the transactions contemplated by this Agreement is subject to the satisfaction prior
to or at the Closing of the following conditions, any of which may, in Buyer’s sole discretion, be
waived in whole or in part:

                (a)     Compliance by Seller with Covenants and Representations Correct. All the
covenants and obligations of this Agreement to be complied with and performed by Seller at or
before the Closing Date shall have been complied with and performed in all material respects. The
representations and warranties made by Seller in this Agreement that are not qualified as to
“materiality” shall be true and correct in all material respects as of the date hereof, and all
representations and warranties that are qualified as to “materiality” or “material adverse effect”
shall be true, correct and complete in all respects, as of the date hereof. The representations and
warranties made by Seller in this Agreement (other than those that speak as of a specified date or
time) shall be true and correct in all respects, as of the Closing Date, with the same force and effect
as though such representations and warranties had been made on and as of the Closing Date, except
to the extent such failure to be true and correct has not had, and would not reasonably be expected
to have, a Material Adverse Effect.

              (b)    Seller Transaction Documents. Seller shall have delivered to Buyer all the
documents, instruments and agreements set forth in Section 5.5.

               (c)     No Legal Action. No Action or Claim shall have been instituted before any
court or before or by any Governmental Authority or instrumentality seeking to prevent or enjoin
the consummation of the transactions contemplated by this Agreement.

               (d)     Bankruptcy Matters. The Bankruptcy Court shall have entered the Sale
Order and it shall not be subject to a stay pending appeal.

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         With a simultaneous copy to:          Dykema
                                               39577 Woodward Avenue, Suite 300
                                               Bloomfield Hills, MI 48304
                                               Attn: Brendan J. Cahill and Sheryl L. Toby
                                               bcahill@dykema.com
                                               stoby@dykema.com

or, in each case, such other address as may be specified in writing to the other Party.

       All such notices, requests, demands, waivers and other communications shall be deemed
to have been received (x) if by hand delivery, on the day after such delivery, (y) if by electronic
means and the transmitting Party receives a transmission receipt dated the day of transmission, on
the same day as the transmission, and (z) if by nationally recognized overnight courier, on the next
Business Day after deposit with such courier.

        8.3     Confidentiality. Each Party hereto agrees that all non-public information received
from the other Party or otherwise relating to such other Party or (prior to Closing), shall be
confidential, and shall not be disclosed or otherwise released to any other without the written
consent of the other Party. The obligations of the Parties hereunder shall not apply to: (a) the
extent that the disclosure of information otherwise determined to be confidential is anticipated
hereunder or required by Applicable Law, including bankruptcy law or filings in the Bankruptcy
Court; (b) the disclosure of confidential information to any financial advisors, legal advisors, other
professional advisors, shareholders, investors and lenders (both actual and potential) of a Party
who agree to hold confidential such information substantially in accordance with this Section or
who are otherwise bound by a duty of confidentiality to such Party; and (c) such disclosures as
may be contained in any transaction-specific press release approved by both Buyer and Seller,
each Party agreeing not to unreasonably withhold, condition or delay its approval.

        8.4     Amendment; Waivers, Etc. No amendment, modification or discharge of this
Agreement, and no waiver hereunder, shall be valid or binding unless set forth in writing and duly
executed by the Party against whom enforcement of the amendment, modification, discharge or
waiver is sought. Any such waiver shall constitute a waiver only with respect to the specific matter
described in such writing and shall in no way impair the rights of the Party granting such waiver
in any other respect or at any other time.

       8.5     Headings. The headings contained in this Agreement are for reference purposes
only and shall not affect in any way the meaning or interpretation of this Agreement.

        8.6    Assignment. Neither this Agreement nor any of the rights or obligations under this
Agreement may be assigned by either Party without the prior written consent of the other Party,
although no permitted assignment of this Agreement by a Party will relieve the Party of any of its
obligations under this Agreement.

       8.7   Parties in Interest; No Third-Party Beneficiaries. This Agreement and the
Related Agreements shall be binding upon and inure solely to the benefit of the Parties and their

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successors and permitted assigns, and nothing in this Agreement or any Related Agreement,
expressed or implied, is intended to confer upon any other Person any rights or remedies of any
nature under or by reason of this Agreement or any Related Agreement. Without limiting the
foregoing, nothing in this Agreement or the Related Agreements is intended to confer upon any
past, present or future employee of Seller or its Affiliates or his or her legal representatives or heirs
any rights as a third-party beneficiary or otherwise or any other rights or remedies of any nature
or kind whatsoever under or by reason of the transactions contemplated by this Agreement or by
the Related Agreements, including any rights of employment, continued employment or any rights
under or with respect to any employee benefit, welfare benefit, pension or other fringe benefit plan,
fund, program or arrangement.

        8.8     Counterparts; Facsimile Signature. This Agreement may be executed in one or
more counterparts, each of which shall be deemed to constitute an original, but all of which shall
constitute one and the same instrument, and shall become effective when one or more counterparts
have been signed by each of the Parties. Any Party may execute this Agreement by facsimile
(or .pdf copy) signature and the other Parties will be entitled to rely upon such facsimile (or .pdf
copy) signature as conclusive evidence that this Agreement has been duly executed by such Party.

       8.9    Governing Law. Except to the extent inconsistent with the Bankruptcy Code, this
Agreement and the Related Agreements shall be governed by and construed and enforced in
accordance with the laws of the State of Michigan, without regard to its conflicts of law rules.

        8.10 Jurisdiction. Each of the Parties agrees that any proceeding brought to enforce the
rights or obligations of any Party under this Agreement or any Related Agreement shall be
commenced and maintained in the Bankruptcy Court, and the Bankruptcy Court shall have
exclusive jurisdiction over any such proceeding.

     8.11 WAIVER OF JURY TRIAL. EACH PARTY TO THIS AGREEMENT
HEREBY UNCONDITIONALLY WAIVES ITS RIGHTS TO A JURY TRIAL OF ANY CLAIM
OR CAUSE OF ACTION BASED UPON OR ARISING OUT OF THIS AGREEMENT, ANY
OF THE DOCUMENTS RELATED HERETO, ANY DEALINGS BETWEEN THE PARTIES
RELATING TO THE SUBJECT MATTER OF THIS AGREEMENT OR ANY RELATED
TRANSACTIONS.

        8.12 Severability. If any provision of this Agreement is inoperative or unenforceable
for any reason, such circumstances shall not have the effect of rendering the provision in question
inoperative or unenforceable in any other case or circumstance, or of rendering any other provision
or provisions herein contained invalid, inoperative, or unenforceable to any extent whatsoever, so
long as this Agreement, taken as a whole, still expresses the material intent of the Parties. The
invalidity of any one or more phrases, sentences, clauses, sections or subsections of this Agreement
shall not affect the remaining portions of this Agreement.

        8.13 Entire Agreement. This Agreement and the Related Agreements constitute the
entire agreement between the Parties with respect to the subject matter hereof, and supersede all
prior agreements and understandings, both written and oral, between the Parties with respect to the
subject matter hereof. There are no warranties, representations or other agreements between the
Parties in connection with the subject matter hereof except as set forth specifically herein.

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       8.14 Bulk Sales or Transfer Laws. Buyer hereby waives compliance by Seller with
the provisions of the bulk sales or transfer laws of all applicable jurisdictions.

        8.15 No Inferences. Inasmuch as this Agreement is the result of negotiations between
sophisticated Parties of equal bargaining power represented by counsel, no inference in favor of,
or against, either Party shall be drawn from the fact that any portion of this Agreement has been
drafted by or on behalf of such Party.

        8.16 Interpretation. In this Agreement, unless the context otherwise requires: (a)
references to this Agreement are references to this Agreement and to the Schedules and Exhibits
hereto; (b) references to Articles and Sections are references to articles and sections of this
Agreement; (c) references to any party to this Agreement shall include references to its respective
successors, its designees, and permitted assigns; (d) references to a judgment shall include
references to any order, writ, injunction, decree, determination or award of any court or tribunal;
(e) the terms “hereof,” “herein,” “hereby,” and any derivative or similar words will refer to this
entire Agreement; (f) references to any document (including this Agreement) are references to that
document as amended, consolidated, supplemented, novated or replaced by the parties thereof
from time to time; (g) references to any law are references to that law as of the Closing Date, unless
the context requires otherwise, and shall also refer to all rules and regulations promulgated
thereunder, unless the context requires otherwise; (h) the word “including” shall mean including
without limitation; (i) references to time are references to Eastern Standard or Daylight time (as in
effect on the applicable day) unless otherwise specified herein; and (j) use of the singular in defined
terms shall include the plural and vice versa.

        8.17 Time of the Essence. Time is of the essence for purposes of this Agreement and
the rights and obligations of the Parties hereunder.



                                 [Signatures Follow on Next Page]




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      The Parties executed and delivered this Asset Purchase Agreement as of the Effective Date.



                                                   BUYER

                                                   Offshore Acquisition, LLC



                                                   By:    ____________________________
                                                          Stephen R. Polk
                                                          Authorized Representative




                                                   SELLER

                                                   Offshore Spars Co.



                                                   By:    ____________________________

                                                   Name: Eric R. Graczyk

                                                   Title: Responsible Person




                                                   ____________________________
                                                   Eric R. Graczyk




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                                 EXHIBIT 6B
 (Notice of Potential Assumption and Assignment of Certain Executory Contracts
               and Unexpired Leases and Proposed Cure Amounts)




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                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
 Offshore Spars Co., et al.1                Case No. 23-44657
                                            Judge Thomas J. Tucker
                     Debtors.               Chapter 11
                                            Jointly Administered

     NOTICE OF POTENTIAL ASSUMPTION AND ASSIGNMENT OF
    CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                AND PROPOSED CURE AMOUNTS

      1.      On November 3, 2023, Offshore Spars Co. (the “Debtor”) filed its
Motion (the “Motion”) for Entry Of An Order (I) Approving the Sale of Assets to
Offshore Acquisition, LLC Free and Clear of Liens, Claims and Encumbrances, (II)
Approving the Asset Purchase Agreement, (III) Terminating Asset Purchase
Agreement with Rigpro, LLC (IV), Authorizing Assumption and Assignment of
Executory Contracts and Unexpired Leases in Connection with the Sale; and (V)
Granting Related Relief.2 By the Motion, the Debtor seeks, inter alia, to sell (the
“Sale”) substantially all of its assets (the “Assets”) and to assume and assign certain
executory contracts and unexpired leases (the “Purchased Contracts”) to Offshore
Acquisition, LLC (the “Buyer”) pursuant to an asset purchase agreement by and
among the Debtor and the Buyer (the “APA”). A copy of the Motion can be obtained
from counsel to the Debtor, Stevenson & Bullock, PLC, Attn.: Elliot Crowder,
26100 American Drive, Suite 500, Southfield, MI 48034. Email:
ecrowder@sbplclaw.com.

      2.     Pursuant to the Motion, the Debtor may assume and assign the
contract(s) and lease(s) identified on Exhibit A (the “Subject Contract(s)”) to the
Buyer. 3 The cure amount (the “Cure Amount”), if any, the Debtor believes is

1
      The Debtors in these jointly administered cases are Offshore Spars Co. (Case
No. 23-44657) and Eric G. Graczyk (Case No. 23-44658).
2
  Capitalized terms not otherwise defined herein shall have the meanings ascribed to
them in the Motion.
3
  The Debtor may modify the list of contracts and leases that will be assumed and
assigned in connection with the Sale. In addition, the inclusion of any contract or
agreement on Exhibit A to the Cure Notice shall not constitute an admission by the


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required to satisfy all amounts and obligations due and owing under each Subject
Contract by the Debtor, including any monetary defaults and compensation for
pecuniary losses, is listed on Exhibit A (the “Cure Schedule”). NOTE THAT IN
THIS CASE, OTHER THAN WITH RESPECT TO THE MODIFIED LEASE FOR
THE FACILITY, DEBTOR BELIEVES THAT NO CURE AMOUNTS EXIST
AND AS SUCH THE COUNTERPARTIES CLAIMS ON THE CURE
SCHEDULE ARE LISTED AS “ZERO” AMOUNTS OWED.

       3.    The deadline to file an objection to the assumption and assignment of
the Subject Contract(s) and the Cure Amount(s) for such Subject Contract(s)
(together, “Cure Objections”) is November 27, 2023 (the “Cure Objection
Deadline”). Cure Objections, if any, must be filed with the Clerk of the Bankruptcy
Court and served on (a) counsel to the Debtor, Stevenson & Bullock, PLC, Attn:
Elliot Crowder, 26100 American Drive, Suite 500, Southfield, MI 48034; (b)
counsel to the Buyer, Dykema Gossett PLLC, Attn: Sheryl L. Toby, 39577
Woodward Avenue, Suite 300 Bloomfield Hills, Michigan 48304; (c) the
Subchapter V Trustee, Deborah L. Fish, 211 West Fort Street, Suite 705, Detroit,
MI 48226; and (d) counsel to Pathward N.A. (“Pathward”), Taft Stettinius &
Hollister LLP, Attn: Kimberly R. Clayson, 27777 Franklin Road, Suite 2500,
Southfield, MI 48034 (the “Consultation Parties”).

       4.     Any Cure Objection must state (i) the basis for the objection and (ii)
with specificity, what Cure Amount(s) the party to the Subject Contract(s) believes
is required (in all cases with appropriate documentation in support thereof).

      5.      Any objection solely to the Cure Amount(s) may not prevent or delay
the Debtor’s assumption and assignment of the Subject Contract(s). If a non-Debtor
counterparty (a “Non-Debtor Counterparty”) objects solely to Cure Amount(s), the
Debtor may, with the consent of the Buyer, hold the claimed Cure Amount(s) in
reserve pending further order of the Court or mutual agreement of the parties. So
long as Cure Amount(s) are held in reserve, and there are no other unresolved
objections to assumption and assignment of the applicable Subject Contract(s), the
Debtor can, without further delay, assume and assign such Subject Contract(s) to the
Buyer. Under such circumstances, the objecting Non-Debtor Counterparty’s
recourse is limited to the funds held in reserve.


Debtor that any such contract is an executory contract or unexpired lease within the
meaning of section 365 of the Bankruptcy Code and the Debtor reserves all rights
with respect thereto.


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       6.      Unless a Cure Objection or an objection to adequate assurance of future
performance, as applicable, is filed and served by a Non-Debtor Counterparty to any
Subject Contract by the Cure Objection Deadline such Non-Debtor Counterparty
shall be: (i) deemed to have waived and released any right to assert a Cure Objection
and to have otherwise consented to the assignment of such Subject Contract, (ii)
forever barred from objecting to the assumption and assignment of such Subject
Contract and (iii) forever barred and estopped from asserting or claiming any Cure
Amount, other than the Cure Amount listed on the Cure Schedule.

      8.    The hearings with respect to Cure Objection(s) or objection(s) to the
adequate assurance of future performance may be held (a) at a date as the Court may
designate.

      Your rights may be affected. You may wish to review the Motion and
discuss it with your attorney, if you have one in this bankruptcy case. If you do
not have an attorney, you may wish to consult one.

      If you wish to object to the Court granting the relief sought in the Motion, or if
you want the Court to otherwise consider your views on the Motion, within twenty-one
(21) days of service of the Motion, or such shorter time as the Court may hereafter
order, you or your attorney must:

    1. File with the Court a written response or an answer3 explaining your position
       at:

                              United States Bankruptcy Court
                                   211 West Fort Street
                                 Detroit, Michigan 48226

If you mail your response to the Court for filing, you must mail it early enough so the
Court will receive it on or before the date stated above.

You must also mail a copy to the Consultation Parties as identified above.


       If a response or answer is timely filed and served, the clerk may schedule a
hearing on the Motion and you will be served with a notice of the date, time, and
location of the hearing.
3
       Response or answer must comply with FED.R.CIV.P. 8(b), (c), and (e).



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      If you or your attorney do not take these steps, the Court may decide that you do
not oppose the relief sought in the Motion and may enter an Order granting the relief
sought therein.

                                          Respectfully submitted,
                                          STEVENSON & BULLOCK, P.L.C.

                                          By: /s/ Elliot G. Crowder
                                          Elliot G. Crowder (P76137)
                                          Counsel for Debtor
                                          26100 American Drive, Suite 500
                                          Southfield, MI 48034
                                          Phone: (248) 354-7906
                                          Facsimile: (248) 354-7907
                                          Email: ecrowder@sbplclaw.com
Dated: November 3, 2023




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                            Exhibit A to Cure Notice
                               CURE SCHEDULE

  Description of Subject       Name and Contact Information of            Cure
        Contract                         Counterparty                    Amount
 Wylie 39                     GC Rigging and Composites LLC
                              800 Wharf Street                            $0.00
                              Pt. Richmond, CA 94804
 Alerion 30 Masts             Alerion Yachts
                              342 Compass Cir.                            $0.00
                              North Kingston, RI 02852
 Alerion 33 Masts             Alerion Yachts
                              342 Compass Cir.                            $0.00
                              North Kingston, RI 02852
 Ascent AeroSpace             Global Tooling Systems, Inc.
                              16445 23 Mile Road                          $0.00
                              Macomb Twp., MI 48042
 Macotta                      Macotta Corporation
                              1987 Larchwood Dr.                          $0.00
                              Troy, MI 48083
 Macotta                      Macotta Corporation
                              1987 Larchwood Dr.                          $0.00
                              Troy, MI 48083
 Kinetic Boom 5               Kinetic Catmarans
                              12 New Street,
                                                                          $0.00
                              Knysna Western Cape, 6570
                              South Africa
 Kinetic Boom 6               Kinetic Catmarans
                              12 New Street,
                                                                          $0.00
                              Knysna Western Cape, 6570
                              South Africa
 Hughs 56 Boom                Cory A Birnberg
                              1083 Mission St. Third Floor                $0.00
                              San Francisco, CA 94103-2812
 MVM                          Kevin Rivenbark
                              PO Box 862                                  $0.00
                              Clinton, NC 28329




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 All purchase orders
 accepted by Seller on or
                                                                          $0.00
 after May 23, 2023.

 Lease of Facility         Chesterfield 5, LLC
                           12955 23 Mile Road
 ** Condition to close and Shelby Twp., MI 48315
 assume and assign this
 lease, subject to the                                                  $27,500.00
 modification of the lease
 which is acceptable to
 Buyer in its sole
 discretion




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                                 EXHIBIT 6C
                             (Employment Agreement)




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                                      EMPLOYMENT AGREEMENT

       This Employment Agreement (“Agreement”) is entered into as of [●], 2023 (the “Effective Date”),
by and between Eric Graczyk (“Executive”) and Offshore Acquisition, LLC, a Michigan limited liability
company (the “Company”).

                                                  Background

         A.        As a condition and material inducement for the Company to enter into that certain Asset
                   Purchase Agreement, dated as of November 2, 2023 (the “Purchase Agreement”), by and
                   among the Company, Executive, and Offshore Spar, Co. (“Offshore Spar”), the Company
                   and Executive desire to enter into this Agreement to document Executive’s employment
                   with the Company under the terms and conditions set forth in this Agreement.

         B.        Executive is the sole member of the sole shareholder of Offshore Spar and will directly and
                   indirectly benefit from the completion of the transactions contemplated by the Purchase
                   Agreement.

         C.        Executive possesses a level of skill, experience, and know-how crucial to the success of
                   the Company and such skill, experience, and know-how is an essential component of the
                   Company’s desire to acquire the Company pursuant to the Purchase Agreement.

         D.        Executive acknowledges the necessity of Executive agreeing to be bound by certain
                   restrictive covenants set forth in this Agreement.

         Now, therefore, in consideration of the covenants set forth in this Agreement, and other good and
valuable consideration, the receipt and sufficiency of which is hereby acknowledged, the parties agree as
follows.
                                                Agreement

         1.      Definitions. For purposes of this Agreement, the following terms shall have the meanings
set forth below.

        “Business” means the business activities conducted the Company during the Employment Term,
including the business of designing and manufacturing carbon fiber and composite products for the boat
building, aerospace, automotive, and construction industries.

        “Business Associate” means any current or former employee, contractor, subcontractor,
representative, consultant, agent, or member of the Company.

         “Cause” means any of the following, as reasonably determined by the Board:

                 (a)     gross negligence in the performance by Executive of his duties with the Company,
a violation of any material policy of any member of the Company applicable to Executive, or any material
breach by Executive of any representation, warranty or covenant of Executive set forth in this Agreement;

               (b)     failure or refusal of Executive to follow reasonable and lawful directives of the
Board which are consistent with Executive’s position with the Company;

                (c)     (i) intentional, grossly negligent or willful misconduct or omission by Executive
that causes any material injury to the financial condition, business or reputation of the Company, or (ii)



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conduct by Executive that constitutes a violation of any law or Company policy respecting employment
discrimination or harassment;

                (d)      any act of fraud, theft, bad faith, misappropriation, conversion or embezzlement or
other similar conduct with respect to any aspect of the Business or assets of the Company (including
acceptance of bribes or kickbacks or other acts of self-dealing);

                 (e)      (i) non-prescription drug use, alcohol use or the improper use of prescription drugs
that interferes with the performance by Executive of Executive’s duties to the Company, or (ii) the illegal
use, possession or sale of any controlled substance; or

                (f)      commission, indictment, a plea of nolo contendere or conviction of (i) a felony, or
a crime involving fraud, moral turpitude or misrepresentation, or (ii) any other crime the effect of which is
reasonably likely to have a material adverse effect on the business or reputation of the Company.

        “Company” means the Company and any direct and indirect subsidiaries of the Company.

        “Company Innovations” means all Innovations, and any associated intellectual property rights,
which Executive may solely or jointly Create, during Executive’s employment with the Company, and
which either (a) relate, at the time Created, to the Business or actual or reasonably and demonstrably
anticipated research or development, or (b) were developed on any amount of the Company’s time or with
the use of any of the Company’s equipment, supplies, facilities or trade secret information, or (c) resulted
from any work Executive performed for the Company.

        “Competing Services or Products” means any service or product, in existence or under
development, that competes with, or that is intended to compete with or displace in the market, any of the
services or products provided or sold by the Company as part of the Business as of the Termination Date.

          “Confidential Information” means information regarding the Business or the Company that has not
been disclosed by the Company to the public and is not generally known to the public which shall include
the following with respect to the Business or the Company: (a) information regarding operations, assets,
liabilities or financial condition; (b) information regarding bidding, quotations, price, sales, merchandising,
marketing and promotions (including marketing strategies and concepts), advertising campaigns, capital
expenditures, costs, joint ventures, business alliances, products, services or purchasing; (c) information
regarding the terms, conditions and employment relationship of the Company has with employees,
including, non-public information regarding their monetary compensation, benefits and employee
personnel files; (d) information regarding Business Associates other than employees, including their
identities, responsibilities, qualifications, benefits, compensation and files; (e) information regarding
Customers, including customer lists, databases and other information related to current or prospective
customers, including information regarding their identities, contact persons and purchasing patterns;
(f) information regarding current vendors, suppliers, distributors or other business partners; (g) forecasts,
projections, budgets and business plans; (h) information regarding the planned or pending acquisitions,
divestitures or other business combinations; (i) information regarding the creation and formulation of any
service or product, whether now in existence or under development; (j) technical information, models,
know-how, protocols, discoveries, designs (including dress and ornamental designs), prints, patterns,
images, pictorials, sculptures, graphics, color arrangements, combinations of elements, formulas, patterns,
devices, secrets, inventions, improvements, techniques, processes, compilations of information, records,
specifications, business methods, equipment, trade secrets and proprietary information; and (k)
demonstrably contemplated website designs, website content, domain names, data bases, internet
hyperlinks, internet banners and internet search engine listings. Notwithstanding the foregoing,
Confidential Information shall be treated as such under this Agreement unless and until it becomes generally


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known to the public through no act or fault of Executive and through no fault of any other Person who has
an obligation not to disclose such Confidential Information. This definition applies to all Confidential
Information, regardless of when such information is or was disclosed to Executive.

         “Control” or “Controlled by” means possession, directly or indirectly, of the power to direct or
cause the direction of the management and policies of an entity, whether through ownership of voting
securities, by contract or otherwise.

        “Create” means to create, conceive, reduce to practice, derive, develop or make.

        “Customer” means any Person who is or has been a customer of the Company within the one-year
period immediately preceding the Termination Date and with whom Executive had contact, or about whom
Executive had access to Confidential Information, during such period.

        “Disability” means (a) a physical or mental condition that causes Executive to be unable to perform,
with or without reasonable accommodation, Executive’s essential job functions for one hundred eighty or
more calendar days within any twelve month period, or (b) Executive is receiving long term disability
benefits under any policy, plan or program in which Executive participates as an employee of the Company.

        To “Engage” in a business means (a) to render services in or provide advice with respect to that
business, or (b) to own, manage, operate or Control (or participate in the ownership, management, operation
or Control of) an enterprise engaged in that business, in each case, whether as an owner, partner, member,
shareholder, independent contractor, employee, consultant, agent, lender, lessor, lessee, licensor, licensee
or advisor.

        “Innovations” means processes, machines, manufactures, compositions of matter, improvements,
inventions (whether or not protectable under patent laws), information, designs, improvements and
discoveries which are now known or later discovered, works of authorship, copyrights, derivative works,
or any creative expression fixed in any tangible medium now known or later developed (whether or not
protectable under copyright laws), mask works, trademarks, service marks, domain names, trade names,
trade dress, trade secrets, know-how, ideas (whether or not protectable under trade secret laws), and other
subject matter protectable under patent, copyright, moral rights, mask work, trademark, trade secret or other
laws regarding proprietary rights, including new or useful art, combinations, discoveries, formulae, designs
(including dress and ornamental designs), prints, patterns, images, pictorials, sculptures, graphics, color
arrangements, combinations of elements, manufacturing techniques, technical developments, discoveries,
artwork, or software, and all documentation associated therewith, whether registered with a government
agency charged with granting proprietary rights, or used and practiced at common law, worldwide.

         “Person” means any natural person, corporation, partnership, limited liability company, trust,
estate, association, governmental authority or other entity of any kind.

        “Prior Innovations” means Innovations relating to the Business or reasonably and demonstrably
anticipated research and development, which Executive Created prior to the start of Executive’s
employment by the Company.

        “Proprietary Rights” means rights to Innovations and other proprietary rights.

        “Release” means a written release, in form and substance reasonably satisfactory to the Company,
whereby Executive waives and releases the Company and its affiliates and related parties from any and all
claims that Executive may have against the Company and its affiliates and related parties in connection
with Executive’s employment with the Company or the termination thereof, provided that the Release will



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not apply to the Company’s obligations under Section 9 including any compensation or benefits referred to
in Section 9(c).

        “Restricted Period” means the period commencing on the Effective Date and ending on the first
anniversary of the Termination Date.

        “Severance Period” means the three months immediately after the Termination Date.

        “Solicit” or “Solicitation” means to encourage or induce, or to take any action that is intended or
calculated to encourage or induce or which is reasonably likely to result in encouragement or inducement.

        “Subsidiary” of a specified Person means (a) an entity that is directly or indirectly Controlled by
the specified Person, or (b) an entity in which the specified Person, directly or indirectly, owns a majority
economic interest.

        “Termination Date” means the date on which Executive’s employment with the Company ends for
any reason, including termination by the Company, death, Disability or resignation.

        “Territory” means anywhere in North America (including each state or province (as applicable) in
the United States of America, Canada and Mexico).

        2.       Employment. The Company hereby employs Executive, and Executive agrees to serve,
as the President of the Company (the “Position”).

        3.      Duties. During the Employment Term, Executive shall perform such services as are
commensurate with the Position, including such duties and responsibilities as may from time to time be
assigned to Executive by the Board. Executive shall (a) faithfully, diligently and competently perform such
services, (b) devote Executive’s full business time and attention to the affairs of the Company, and (c)
comply with all rules and regulations from time to time promulgated by the Company that are applicable
to Executive.

         4.      No Other Employment. During the Employment Term, Executive shall not, directly or
indirectly, render services to any other Person without the prior approval of the Board. Nothing in this
Agreement, however, shall restrict Executive from providing services without compensation in connection
with civic or charitable activities, provided in each case that such services do not violate Sections 10 or 11
and do not interfere with Executive’s performance of Executive’s duties under this Agreement.
Notwithstanding anything herein, the Executive is permitted to engage in passive business activities
including, without limitation, real estate investing, so long as such activities do not impair in any material
respect Executive’s ability to provide services to the Company.

         5.      Employment Term. The period during which Executive is employed under this
Agreement (the “Employment Term”) shall start on the Effective Date and end on the third anniversary of
the Effective Date, unless terminated sooner as provided herein. The Employment Term shall automatically
renew for successive one year terms ending on the applicable anniversary of the Effective Date (each, a
“Renewal Term”), unless at least thirty days prior to the end of the Employment Term, or Renewal Term,
as applicable, either party delivers written notice to the other party that it has elected not to so extend the
term. Notwithstanding the foregoing, the Employment Term may be terminated as provided herein prior to
the date on which it would otherwise expire or be renewed. If, following the expiration of the Employment
Term, Executive remains employed by the Company as an at-will employee, the provisions of Sections 4,
10, 11, 12, 13, 14, 15, 16 and 17 shall remain in effect throughout such period of at-will employment and
(to the extent provided therein) after employment.



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        6.      Compensation.

                 (a)    During the Employment Term, the Company shall pay to Executive a salary (the
“Base Salary”) at a base salary rate of $150,000 per annum (prorated for any partial year and subject to
applicable withholdings). The Base Salary shall be payable in accordance with the Company’s ordinary
payroll practices.

                  (b)      During the Employment Term, in the sole and exclusive discretion of the Board,
Executive shall be eligible to receive an annual cash bonus (the “Annual Bonus”) for each calendar year in
accordance with, and subject to the terms and conditions of, the annual incentive program established by
the Board. The Annual Bonus, if any, shall only be payable to Executive if Executive was employed on
the last day of the year for which the Annual Bonus is to be paid. The amount of the Annual Bonus, if any,
shall be paid not later than the earlier of (i) 120 days following the end of the calendar year for which the
Annual Bonus is being paid, or (ii) ten days following completion of the audited financial statements for
the calendar year for which the Annual Bonus is being paid.

        7.      Benefits.

                (a)     During the Employment Term, Executive shall be entitled to participate in such
employee benefit plans and programs as are maintained from time to time for employees of the Company.
The Company shall not be obligated to adopt or continue any particular plan or program during the
Employment Term, and Executive’s (and Executive’s dependents’) participation in any such plan or
program shall be subject to the provisions, rules, regulations and laws applicable thereto.

                (b)      During the Employment Term, Executive shall be entitled to paid time off (“PTO”)
in accordance with the Company’s PTO policy, and to such paid holidays as are observed by the Company
from time to time. For purposes of this Section 7(b), “year” means the twelve month period the Company
uses administratively for purposes of vacation records. As a required by applicable law, all PTO which is
unused at the end of a calendar shall be forfeited.

                (c)     During the Employment Term, Executive shall be entitled to the use of a Company
vehicle, which shall remain property of the Company. The Company shall pay customary insurance for the
vehicle and shall reimburse Executive for other regular expenses.

        8.     Reimbursement of Expenses. Executive shall be entitled to reimbursement for ordinary,
necessary and reasonable out-of-pocket business expenses which Executive incurs in connection with
performing Executive’s duties under this Agreement consistent with current policies of the Company

        9.      Termination.

                 (a)     Executive may resign from employment with the Company at any time upon thirty
days’ prior written notice to the Company. The Company may terminate Executive’s employment at any
time with Cause upon written notice to Executive or at any time without Cause upon thirty days’ prior
written notice to Executive. Notification of termination for Cause may be made at any time after the Board
becomes aware of the occurrence or continuance of any of the reasons for Cause set forth in this Agreement.
Executive’s employment shall terminate automatically upon Executive’s death. The Company may
terminate Executive’s employment upon Executive’s Disability. If the Company terminates Executive’s
employment for Cause or on account of Executive’s Disability, Executive’s employment terminates upon
Executive’s death, or Executive resigns, then the Company shall have no further obligations from and after
the date of such termination, except for payment of the compensation described in Section 9(b) and the




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Company shall have all other rights and remedies available under this or any other agreement and at law or
in equity.

                 (b)      If a Termination Date occurs, then Executive shall be entitled to: (i) the Base Salary
through the Termination Date payable as described above; (ii) benefits (including payment for unused PTO
for the applicable calendar year) as provided in Section 7 through the Termination Date pursuant to the
terms of the plan or policy under which such benefits are provided (with respect to payment of unused PTO,
under the terms of the Company’s PTO policy); and (iii) reimbursement of expenses incurred by Executive
through such date as provided in Section 8, provided that, for the sake of clarity, in no event shall any
reimbursement be made later than the longest time period specified in Section 15(f).

                 (c)     If the Company terminates Executive’s employment without Cause (and not for
Disability and not due to a non-renewal), then, in addition to the compensation described in Section 9(b),
during the Severance Period the Company shall (i) continue to pay Executive salary continuation payments
(the “Severance Payments”) at the payroll rate of 100% of the Base Salary then in effect for the payroll
payment periods, and (ii) continue to provide to Executive the benefits described in Section 7(a), either
directly or by way of reimbursing Executive’s applicable COBRA payment obligations. Severance
Payments shall be payable in accordance with the Company’s ordinary payroll practices over the applicable
Severance Period. Notwithstanding any provision to the contrary herein, and without limitation of any
remedies to which the Company may be entitled (including under this Agreement or applicable law): (i) the
Company shall not be required to make any Severance Payments unless Executive signs and delivers to the
Company a Release within thirty days following the termination of Executive’s employment and does not
revoke such Release within the applicable revocation period (if any), and (ii) Executive shall not be entitled
to any Severance Payments with respect to any portion of the Severance Period following the Executive’s
violation any of Executive’s obligations under Sections 10, 11, 12 or 13.

               (d)      Except as expressly provided in this Section 9 and except for benefits to the extent
required under employee benefit plans or applicable law, Executive shall not be entitled to any
compensation or other severance benefits upon termination of employment.

         10.      Non-Compete and Non-Solicitation. By and in consideration of the Company’s entering
into this Agreement, and in further consideration of Executive’s exposure to the Confidential Information
of the Company and as a material inducement for the Company to enter into the Purchase Agreement and
consummate the transaction contemplated therein, Executive agrees that, from and after the Effective Date
and continuing through the Restricted Period, Executive shall not do any of the following, directly or
indirectly, other than on behalf of the Company:

                 (a)      Engage in the Business anywhere in the Territory;

                 (b)    Solicit or assist any other Person to Solicit any Person who is or has been a
supplier, vendor, customer, client, dealer, distributor, licensor, licensee or any other business relation of the
Company (i) to cease doing business with the Company, (ii) to adversely alter or limit its business
relationship with the Company, or (iii) to purchase, other than from the Company, any Competing Services
or Products;

               (c)      market, promote, sell, offer to sell, or provide any Competing Services or Products
to any Customer, or assist any other Person to do so;

                 (d)       Solicit or assist any Person to Solicit any Business Associate to terminate, restrict
or hinder his, her or its association with the Company; or




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                 (e)    recruit, interview, Solicit, hire or otherwise retain the services of any Business
Associate, whether on a full-time basis, part-time basis or otherwise and whether as an employee, officer,
director, independent contractor, consultant, advisor, agent or in another capacity, or assist any other Person
to do so;

provided, however, that nothing in this Agreement shall prevent Executive from owning less than 2% of
any class of publicly traded securities so long as such investment is passive and Executive has no other
involvement with the issuer of such securities.

         11.       Confidential Information. Executive, during the term of this Agreement, will have access
to and become familiar with various trade secrets, including formulas, patterns, devices, secret inventions,
processes, and compilations of information, records, and specifications, which are owned by the Company
and which are regularly used in the operation of the Business. Executive agrees to maintain all Confidential
Information that constitutes a trade secret, in strict confidence and not to disclose such Confidential
Information to any Person outside of the Company or use such Confidential Information for the benefit of
Executive or any Person outside of the Company at any time (including after termination of Executive’s
employment). Executive agrees to maintain all Confidential Information that does not constitute a trade
secret, in strict confidence and not to disclose such Confidential Information to any Person outside of the
Company or use such Confidential Information for the benefit of Executive or any Person outside of the
Company during Executive’s employment with the Company and within the Territory for two years after
that employment ends (regardless of the reason). Nothing in this Agreement, however, prohibits Executive
from: (i) disclosing any information (or taking any other action) in furtherance of Executive’s duties to the
Company while employed by the Company; or (ii) disclosing Confidential Information to the extent
required by law (after giving prompt notice to the Company before such disclosure in order that the
Company may attempt to obtain a protective order or other assurance that confidential treatment will be
accorded such information and reasonably cooperate with the Company (at the Company’s expense with
respect to any reasonable and necessary out-of-pocket expenses incurred by Executive to cooperate to the
extent such expense has been approved in advance by the Company) in attempting to obtain such order or
assurance). Upon the Company’s request at any time, Executive shall deliver as soon as administratively
practicable (but in any event within seven days) to the Company all tangible items in Executive’s possession
or control that are or that contain Confidential Information, without keeping any copies; provided, however,
that Executive may retain copies of documents relating to any employee benefit plans applicable to
Executive and income records to the extent necessary for Executive to prepare Executive’s individual tax
returns. All files, records, documents, drawings, specifications, equipment, and similar items relating to
the business of the Company, whether prepared by Executive or otherwise coming into Executive’s
possession or control, shall remain the exclusive property of the Company and shall not be removed from
the premises of the Company under any circumstances whatsoever without the prior written consent of the
Company, except in connection with the perform Executive’s duties under this Agreement.

        12.      Ownership of Innovations.

                (a)      All Company Innovations shall be the sole and exclusive property of the Company
without further compensation and are “works made for hire” as that term is defined in the copyright laws
of the United States. Executive shall promptly notify the Company of any Company Innovations that
Executive solely or jointly Creates.

                 (b)   Executive agrees that Executive will promptly from time to time fully inform and
disclose to the Company all Innovations which Executive now has or may hereafter have during the term
of this Agreement which pertain or relate to the business of any member of the Company or any
experimental work carried on by Executive, whether conceived by Executive alone or with others and
whether nor not conceived during regular working hours. Executive hereby agrees that Company will be


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the owner of all Company Innovations, and irrevocably assigns (and will assign) to the Company all
Company Innovations, and in connection with any trademark or service, all good will of the business
symbolized thereby. Executive shall perform (at the Company’s expense), during and after Executive’s
employment, all acts deemed necessary or desirable by the Company to assist the Company in obtaining
and enforcing the full benefits, enjoyment, rights and title throughout the world in the Company
Innovations. Such acts may include execution of documents and assistance or cooperation (i) in the filing,
prosecution, registration, and memorializing of assignment of patent, copyright, derivative works, mask
work, trademark, service mark or other applications for Proprietary Rights, (ii) in the enforcement of any
applicable Proprietary Rights, and (iii) in other legal proceedings related to the Company Innovations.

                 (c)     If the Company is unable for any reason to secure Executive’s signature to any
document required to file, prosecute, register, or memorialize the assignment of any patent, copyright, mask
work or other applications or to enforce any Proprietary Rights regarding any Company Innovations
(including derivative works, improvements, renewals, extensions, continuations, divisionals, continuations
in part, continuing patent applications, reissues, and reexaminations), Executive hereby irrevocably
designates and appoints the Company and the Company’s authorized officers and agents as Executive’s
agents and attorneys-in-fact to act for and on behalf of Executive solely and exclusively (i) to execute, file,
prosecute, register and memorialize the assignment of any such application, (ii) to execute and file any
documentation required for such enforcement, and (iii) to do all other reasonable and lawfully permitted
acts to further the filing, prosecution, registration, memorialization of assignment, issuance, and
enforcement of Proprietary Rights regarding Company Innovations, all with the same legal force and effect
as if executed by Executive.

               (d)     Executive represents and warrants to the Company that, to Executive’s actual
knowledge, no Person (other than the Company) has any rights in any Prior Innovations.

                  (e)    Executive hereby grants to the Company or the Company’s designees a royalty
free, irrevocable, worldwide license (with rights to sublicense through multiple tiers of sublicensees) to
practice all applicable Proprietary Rights relating to any Prior Innovations which Executive incorporates,
or permits to be incorporated, in any Company Innovations. To the extent any of the rights, title and interest
in and to the incorporated Prior Innovations cannot be licensed by Executive to the Company, Executive
hereby irrevocably waives and agrees never to assert such non-licensable rights, title and interest against
the Company (or its successors or assigns). Notwithstanding the foregoing, Executive agrees not to
incorporate, or permit to be incorporated, any Prior Innovations in any Company Innovations without the
Company’s prior written consent.

                 (f)     No provision in this Agreement is intended to require Executive to assign or offer
to assign any of Executive’s rights in any invention for which no equipment, supplies, facilities, or trade
secret information of the Company were used, and which was developed entirely on Executive’s own time,
unless the invention relates to the Business or to the Company’s actual or reasonably and demonstrably
anticipated research or development, or the invention results from any work performed by Executive for
the Company. Executive shall bear the burden of proving that Executive’s invention qualifies under this
Section 12(f).

        13.      Non-Disparagement; Non-Endorsement.

                  (a)   From and after the date hereof, Executive shall not, directly or indirectly, make (or
cause to be made) to any Person any disparaging, derogatory or other negative or false statement about the
Company, including its products, services, policies, practices, operations, employees, sales representatives,
agents, officers, members, managers, partners or directors.




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                 (b)     During the Restricted Period, Executive shall not, directly or indirectly, make (or
cause to be made) to any Person any endorsement or other commercially supportive statement about any
Person Engaged in whole or in part in the Business (including any such Person’s products, services,
equipment, suppliers, policies, practices, operations, employees, sales representatives, independent
contractors, licensees, advisors, agents, officers, directors, shareholders, members, managers, partners,
Subsidiaries or other Affiliates), if such endorsement or statement is made in support of a Competing
Service or Product in connection with or relating to its competition with the Company’s services or
products.

                (c)     For purposes of clarity, nothing set forth in this Section 13 shall prohibit in any
way Executive’s assertion of any rights or prosecution or defense of any claims arising out of or relating to
this Agreement.

        14.      Notices. All notices required or permitted to be given hereunder shall be in writing and
may be delivered by hand, by facsimile, by electronic exchange, or by nationally recognized private courier.
Notices delivered by hand, by facsimile, by email, or by nationally recognized private carrier shall be
deemed given on the day of receipt; provided, however, that a notice delivered by facsimile or electronic
exchange shall only be effective if such notice is also delivered by hand, nationally recognized private
courier or deposited in the United States mail, postage prepaid, registered or certified mail, on or before
two business days following its delivery by facsimile. All notices shall be addressed to the last known
address of the party.

        15.     Section 409A.

                 (a)      Exemption of Payments; Compliance; 409A Penalties. All payments made under
this Agreement are intended to be exempt from Section 409A of the Internal Revenue Code of 1986, as
amended (the “Code”) to the maximum extent possible, under either the separation pay exemption pursuant
to Treasury regulation §1.409A-1(b)(9)(iii) or as short-term deferrals pursuant to Treasury regulation
§1.409A-1(b)(4). To the extent any payment under the Agreement is subject to Section 409A of the Code,
this Agreement is intended to comply with the requirements of Section 409A of the Code and shall be
interpreted and construed consistently with such intent. In the event the terms of this Agreement would
subject Executive to taxes or penalties under Section 409A of the Code (“409A Penalties”), the Company
and Executive shall cooperate diligently to amend the terms of the Agreement to avoid such 409A Penalties,
to the extent possible; provided that in no event shall the Company be responsible for any 409A Penalties
that arise in connection with any amounts payable under this Agreement.

                 (b)      Separately Identified Amounts. Each payment and benefit hereunder shall
constitute a “separately identified” amount within the meaning of Treasury regulation §1.409A-2(b)(2).

                (c)     Separation from Service. Solely for purposes of determining the timing of any
compensatory payments to Executive that are measured by reference to such Executive’s termination of
employment, such termination of employment shall be deemed to occur on the date of Executive’s
“separation from service” within the meaning of Section 409A of the Code, and for this purpose all
references to “termination,” “termination of employment,” or like terms shall mean “separation from
service.” To the extent this Agreement provides for payments to be made over a specified period of time
following Executive’s termination of employment and does not otherwise specify the timing of such
payments, such payments shall be made in substantially equal installments over such period in accordance
with the Company’s general payroll practices, commencing on the date of Executive’s separation from
service.




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                 (d)    Timing of Release. Any payment that is deferred compensation subject to Section
409A of the Code which is conditioned upon Executive’s execution of a Release and which is to be paid
during a designated period that begins in one taxable year and ends in a second taxable year shall be paid
in the second taxable year.

                 (e)       Specified Employees. Notwithstanding any other provision in this Agreement, if
Executive is a “specified employee,” as defined in Section 409A of the Code, as of the date of termination,
then to the extent any amount payable under this Agreement: (i) constitutes the payment of nonqualified
deferred compensation, within the meaning of Section 409A of the Code; (ii) is payable upon Executive’s
separation from service, within the meaning of Section 409A of the Code; and (iii) would be payable prior
to the six month “anniversary” of Executive’s separation from service, payment of such amount shall be
delayed until the earlier to occur of (a) the six month anniversary of the date of such separation from service,
or (b) the date of Executive’s death.

                 (f)     Reimbursement of Expenses or In-Kind Benefits. Reimbursements of expenses
and in-kind benefits shall be treated as follows: (i) the amount of such expenses eligible for reimbursement
or in-kind benefits provided in any taxable year shall not affect the expenses eligible for reimbursement or
in-kind benefits provided in any other taxable year, except as otherwise allowed by Section 409A of the
Code; (ii) any reimbursement shall be made on or before the last day of the calendar year following the
calendar year in which the expenses to be reimbursed were incurred; and (iii) no right to reimbursement or
in-kind benefits may be liquidated or exchanged for another benefit.

         16.     Non-Interference. Notwithstanding anything in this Agreement to the contrary, nothing
in this Agreement prohibits Executive from confidentially or otherwise communicating or filing a charge
or complaint with a governmental or regulatory entity, participating in a governmental or regulatory entity
investigation, or giving truthful testimony or statements to a governmental or regulatory entity, or from
responding if properly subpoenaed or otherwise required to do so under applicable law.

        17.      General Provisions.

                (a)      Applicable Law. This Agreement shall be governed by the internal laws of the
State of Michigan, without giving effect to any choice of laws rules that would require the application of
the laws of any other jurisdiction.

                  (b)     Scope of Covenants. Executive acknowledges that the territorial, time and activity
limitations set forth in Sections 10, 11 and 13 (or the lack thereof, as the case may be) are reasonable and
are properly required for the protection of the Company. If any such territorial, time or activity limitation
(or the lack thereof) is determined to be unreasonable by a court or other tribunal, the parties agree to the
reduction of such territorial, time or activity limitations (including the imposition of such a limitation if it
is missing) to such an area, period or scope of activity as said court or tribunal shall deem reasonable under
the circumstances. Also, if the Company seeks partial enforcement of Sections 10, 11 or 13 as to only a
territory, time and scope of activity which is reasonable, then the Company shall be entitled to such
reasonable partial enforcement. If such reduction or (if the Company seeks partial enforcement) such partial
enforcement is not possible, then the unenforceable provision or portion thereof shall be severed as provided
in Section 17(c).

                 (c)      Severability. Subject to Section 17(b), if any provision of this Agreement or
portion thereof is determined by a court or other tribunal to be wholly or partially unenforceable in any
jurisdiction, then (for purposes of such jurisdiction) such provision or portion thereof shall be struck from
the remainder of this Agreement, which shall remain in full force and effect. Without limitation of the
foregoing: (i) any one or more of clauses (a) through (e) of Section 10 may be so severed from the remainder


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of this Agreement; (ii) any one or more of Sections 10, 11, or 13 may be so severed from the remainder of
this Agreement; (iii) the Territory shall be construed as if each state therein and each county within each
such state were listed in a separate clause which may be so severed; and (iv) the Restricted Period shall be
construed as if each month therein were listed in a separate clause which may be so severed.

                 (d)      Remedies. The remedies of each party hereunder shall be cumulative and
concurrent, and may be pursued singularly, successively, or together, in such party’s sole discretion.
Executive agrees that any violation by Executive of Sections 10, 11, 12 or 13 would cause irreparable harm
to the Company. Without limitation of the generality of the foregoing, if Executive violates any provision
of Sections 10, 11, 12 or 13, then the Company shall be entitled, in addition to any other remedies that it
may have, to specific, injunctive or other equitable relief (without the requirement of posting of a bond or
other security) in order to enforce such provision.

                  (e)      Mandatory Mediation and Waiver of Jury Trial. Other than disputes involving
the covenants and obligations set forth in Sections 10, 11, 12 or 13 which may be filed directly in a court
of law, Executive and the Company agree that all other disputes and claims of any nature arising out of or
relating to this Agreement, including with respect to Executive’s employment by the Company or the
termination of such employment by the Company or Executive (whether such disputes and claims are based
in statutory, contractual, or common law and including all employment discrimination disputes and claims),
will be submitted exclusively first to mandatory mediation in metropolitan Detroit, Michigan or at another
mutually agreed-upon location, under the rules of Judicial Arbitration and Mediation Services (“JAMS”)
or under such other rules or under the auspices of such other organization as the parties may mutually agree.
All information regarding the dispute or claim or mediation proceeding, including any mediation settlement,
shall not be disclosed by Executive, the Company, or any mediator to any third party without the written
consent of the Company (with the Board’s approval) and Executive. Costs of the mediator and mediation
organization shall be split equal between the Company and Executive. In the event that mediation does not
resolve any dispute and Executive or the Company proceeds to file a complaint in court, Executive and
the Company hereby waive any right to a jury trial of that dispute.

                (f)     Complete Agreement; Amendments. This Agreement (and, if applicable, any other
written agreement(s) of even date herewith between the parties concerning Executive’s employment) (i)
contains the complete agreement of the parties regarding the subject matter hereof; and (ii) supersedes any
prior agreements, representations or warranties between the parties regarding Executive’s employment. No
amendment hereto shall be enforceable unless in writing and signed and delivered by both Executive and
the Company.

                 (g)    Counterparts; Facsimiles. This Agreement may be executed by counterpart
signature, each of which signature shall be deemed an original, all of which together shall constitute one in
the same instrument. Furthermore, delivery of a copy of such signature by facsimile transmission or other
electronic exchange methodology shall constitute a valid and binding execution and delivery of this
Agreement by such party, and such electronic copy shall constitute an enforceable original document.

                 (h)     Successors; Third Parties. This Agreement shall be for the benefit of and binding
upon: (i) Executive’s heirs, legatees and personal representatives; and (ii) the Company’s successors and
assigns (it being understood that this Agreement is not assignable by Executive).

                 (i)      Waivers. Any party’s waiver of a breach by the other party of any provision of
this Agreement or failure to enforce any such provision with respect to the other party shall not operate or
be construed as a waiver of any subsequent breach by the other party of any such provision or of any other
provision, or of that party’s right to enforce any such provision or any other provision with respect to the
other party. No act or omission of the Company shall constitute a waiver of any of its rights hereunder


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except for a written waiver signed by the Company which has been specifically approved by the Board. No
act or omission of Executive shall constitute a waiver of any of Executive’s rights hereunder except for a
written waiver signed by Executive.

                   (j)     Construction. The headings contained in this Agreement are for convenience of
reference only and shall not affect the meaning or interpretation of this Agreement. Unless this Agreement
expressly provides otherwise, each definition herein applies (i) for purposes of this entire Agreement; and
(ii) to both the singular and plural forms (and other grammatical variations) of the defined term. Unless the
context clearly indicates otherwise, each pronoun herein shall be deemed to include the masculine,
feminine, neuter, singular and plural forms thereof. The terms “including”, “includes”, “include” and words
of like import shall be construed broadly as if followed by the words “without limitation”, whether or not
such words or similar words are stated. Unless otherwise explicitly stated, all section references are to the
references to sections of this Agreement. This Agreement shall not be construed strictly against the drafter
(and any rule of construction to that effect shall not be applied).

                 (k)      Other Obligations. Without implication that the contrary would otherwise be true,
Executive’s and the Company’s (if any) obligations under Sections 10, 11, 12 and 13 are in addition to, and
not in limitation of, any obligations that Executive or the Company (as the case may be) may have under:
(i) applicable law (including any law regarding trade secrets, duty of loyalty, fiduciary duty, unfair
competition, unjust enrichment, conversion, misappropriation or fraud); or (ii) any other written agreement
to which Executive or the Company is a party (including any non-compete, confidentiality, trademark,
inventions or non-disparagement provisions or other restrictive covenants therein).

                 (l)     No Prior Restrictions. Executive hereby represents and warrants to the Company
that Executive is free to enter into employment with the Company and that there are no contracts or
restrictive covenants preventing full performance of Executive’s duties.



                                         [Signatures on next page]




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      The parties executed and delivered this Employment Agreement as of the Effective Date.



                                                     Executive:



                                                     _________________________________
                                                     Eric Graczyk



                                                     Company:

                                                     Offshore Acquisition, LLC



                                                     By:      ____________________________

                                                     Name: ____________________________

                                                     Title:   ____________________________




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